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                           United States District Court for the District of Colorado


   Joanne Black                                           :       United States District Court
                                                                  District of Colorado
                                                                  Case No. 1:22-cv-3098-nrn
   v.                                                     :
   Bernard Black


       Objections by Bernard Black, Issue Trust Trustee, to Magistrate Judge’s Report and
                                       Recommendations

             Bernard Black (Bernard), acting pro se in his capacity as trustee (“Issue Trust Trustee” or

   “Respondent”) of the Irrevocable Trust for the Benefit of the Issue of Renata Black (the “Issue

   Trust”), hereby submits his objections to the Report and Recommendation of Magistrate Judge

   Neuriter (Feb. 14, 2023) (“Magistrate Report”). Review is de novo, as to both the Magistrate

   Judge’s factual finding and legal conclusions. 28 U.S.C. § 636(b).1

             Oral argument is justified because the Magistrate Report departs greatly from the removal

   statute and precedent, exceeds the district court’s power (which makes the remand reviewable on

   appeal), and attacks not only the reputation of Respondent, but also his son Samuel (against whom

   no fact-finder has ever made any adverse findings), and Respondent’s wife, who is not a party

   here.2 Respondent also renews his motion for transfer of this case to the Northern District of

   Illinois or, in the alternative, the Eastern District of New York, for the reasons stated in his Motion

   to Transfer or Dismiss (Dec. 7, 2022; doc. 7).




            1
              The Issue Trust is one of two relevant trusts, the other is the Supplemental Need Trust for the Benefit of
   Joanne Black (“SNT”). A third trust for which Plaintiff brought claims, the Joanne Black 2013 Trust (“2013 Trust”),
   has no assets.
             2
                 An Appendix to these Objections responds to selected, in accurate factual statements in the Magistrate
   Report.



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                                                    I. Introduction

          Respondent seeks removal because of the evident bias of the Denver Probate Court

   (“DPC”) toward Respondent and his family members.3 However, the case before this Court raises

   only narrow, technical issues, principally involving the probate exception to federal subject matter

   jurisdiction. It turns on one statutory provision, 28 U.S.C. § 1447(c), which imposes a strict, non-

   discretionary 30-day time limit on procedural challenges to removal. It involves one controlling

   case, Marshall v. Marshall, 547 U.S. 293 (2006), which governs the probate exception.

          The Magistrate Report ignores the plain language of § 1447(c) and the unanimous view of

   every circuit that has interpreted § 1447(c), including the Tenth Circuit, that the plaintiff’s failure

   to move to remand within 30 days waives all procedural objections to removal. The Report does

   not cite any of the many circuit court decisions squarely on point, including a Tenth Circuit

   decision. Instead, it cites three district court opinions, each since overruled.

          The Magistrate Report also never addresses Marshall’s core holding: for the probate

   exception to apply, two requirements must be met: (i) the probate court must already have custody

   of the assets (not merely have jurisdiction over assets); and (ii) the federal claim would require the

   court to dispose of assets in the custody of a state court (not merely make decisions affecting

   parties’ rights in those assets). Dozens of post-Marshall circuit court decisions develop the

   requirements for the probate exception after Marshall. The Magistrate Report does not cite any of

   them, even the Tenth Circuit decision. It cites only two decisions in other circuits, neither of which

   involves the new test, and relies on pre-Marshall decisions that are no longer good law.




          3
              See infra Part V; Appendix (discussion of trust loans).



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            The issue of remand before this Court does not involve the merits of the underlying claims.

   Whether Bernard Black and members of his family are good people is irrelevant. Removal also

   does not involve judicial discretion. Yet the Magistrate Report spends 33 of its 44 pages discussing

   not just the merits of the removed case (already irrelevant for removal), but the merits of other

   cases in this family saga, even more irrelevant. Many of those other cases involved different

   parties, different claims, were litigated in other fora, and some were resolved years ago. None are

   relevant to the technical issues of jurisdiction before this Court.4

            The civil action that was removed to this Court is a new pleading that Plaintiff improperly

   brought as a motion (“DPC Pleading”) before the Denver Probate Court (“DPC”), rather than a

   complaint. The DPC Pleading is a bona fide new civil action, not a mere motion in an existing

   case: it brings new claims that were never brought in the DPC before, and names new defendants,

   who were never previously before the DPC.5 Plaintiff cannot avoid removal by simply naming

   her new pleading a “motion”, rather than a “complaint.” At the same time, these procedural details

   are now irrelevant: Respondent removed, as is his right under 28 U.S.C. § 1447, and Plaintiff failed

   to seek remand within the 30-day period specified in 28 U.S.C. § 1447(c), thus waiving all

   procedural objections. The only issue before this Court is federal subject matter jurisdiction.

            Respondent removed to federal court based on diversity, with the consent of all other

   defendants. Removal petition (Nov. 30, 2022) (doc. 1). Diversity jurisdiction, apart from possible



             4
               The Magistrate Report describes this prior litigation selectively. It omits entire cases that were decided in
   favor of Respondent, and misstates some of the relevant rulings. This Response will not address irrelevant factual
   details, even when they are incorrectly presented by the Report, but it will correct some of the inaccurate descriptions
   of relevant prior decisions. See also Appendix discussion of the trust loans and other Illinois litigation.
             5
               New defendants, who were never before the DPC, include Samuel Black in all capacities and Respondent
   in his capacity as Issue Trust trustee.



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   application of the probate exception, is not contested.        Removal does not involve judicial

   discretion. This Court must determine whether it has subject matter jurisdiction over each claim

   in this action. Claims for which it has subject matter jurisdiction must stay removed; claims for

   which it does not must be remanded.

            Plaintiff’s new action includes eight claims: (Claim 1) seeking damages against Samuel

   Black, for breach of fiduciary duty as SNT trustee; (Claims 2 through 6) seeking to suspend

   Bernard and Samuel Black as trustees of the SNT, the Issue Trust, and the Joanne Black 2013

   Trust; (Claim 7) seeking an order directing Bernard Black to deposit the SNT and Issue Trust

   assets with the DPC; and (Claim 8) seeking reversal of a disclaimer that Bernard carried out in

   2012 as conservator for his sister Joanne. As this Response will show, this Court has subject matter

   jurisdiction over all eight claims, and thus, all eight must stay removed. All removed claims should

   then be transferred to the Northern District of Illinois, where the rest of the relevant litigation is

   currently ongoing.

            The Magistrate Report erroneously concluded that: (1) this removal was procedurally

   defective; (2) Plaintiff did not waive objections to procedural defects of removal; and (3) the

   probate exception applies to some of the claims; and (4) all claims should be remanded, including

   those to which the probate exception does not apply. All four conclusions are incorrect. Because

   Plaintiff waived objections to procedural defects in removal, this Objection focuses on the last

   three.

            The Magistrate Report is based on three fundamental errors in applying removal law. First,

   the Magistrate Judge appears to believe that the court has discretion on whether to remand. He




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   repeatedly says that the Denver Probate Court has the power to hear this case, and therefore this

   Court should decline removal.

          This is not the law of removal. Under 28 U.S.C. § 1441(a), a defendant can remove as of

   right any claim for which federal subject matter jurisdiction exists. The court has no discretion

   whether to accept the removal. A removed case can then be remanded only if either the procedural

   requirements for removal are not met, or if federal courts lack subject matter jurisdiction. Under

   28 U.S.C. § 1447(c), the state court plaintiff has 30 days to move for remand. If this does not

   happen (and it did not happen here), then, all objections to procedural defects in removal are

   waived. The only remaining issue is federal subject matter jurisdiction – could the plaintiff have

   brought her claims in federal court, if she had wanted to do so? If the answer is yes for some

   claims and no for others, the federal court can remand only the claims that could not have been

   brought in federal court, and must retain claims for which federal subject matter jurisdiction exists.

          When federal subject matter jurisdiction exists, this Court lacks discretion to remand. See,

   e.g., Marshall v. Marshall, 547 U.S. 293, 298-299 (2006) (Federal courts “have no more right to

   decline the exercise of jurisdiction which is given, than to usurp that which is not given.”). It is

   irrelevant whether a state court also has jurisdiction to hear this case. In almost all removed cases,

   state court jurisdiction also exists. The point of removal is to protect nonresident defendants against

   potential bias of a state court that otherwise has legal power to hear the case.

          Second, the Magistrate Judge concluded that Plaintiff did not waive procedural objections

   to removal, even though she failed to move for remand within 30 days, because the Magistrate

   Judge filed an Order to Show Cause within that time. This is plainly erroneous: it ignores (a) a

   10th circuit case, Farmland Nat’l Beef Packing Co., L.P. v. Stone Container Corp., 98 F. Appx.



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   752, 756 (10th Cir. 2004); (b) the unanimous conclusion of all circuit courts that have considered

   whether district courts have power to remand sua sponte on procedural grounds; and (c) the plain

   language and legislative history of the statute. Plaintiff waived all procedural objections to

   removal by not timely seeking remand. The court has no power to extend the statutory deadline.

   Nor can it remand sua sponte based on procedural objections, at any time.

           Finally, the Magistrate Report relied on the probate exception to federal jurisdiction, and

   concluded that removal was improper because the DPC has subject matter jurisdiction over this

   case. This is plainly incorrect. As discussed above, concurrent jurisdiction is nearly universal in

   properly removed cases; the issue is whether federal subject matter jurisdiction also exists. Here,

   diversity jurisdiction exists unless the probate exception applies.

           Under Marshall, 547 U.S. at 312, the probate exception is not triggered solely by the

   probate court’s jurisdiction over disputed assets. Instead, the probate exception applies only when:

   (i) the probate court is already exercising custody over the relevant assets, rather than merely

   having jurisdiction over them; (ii) to decide a claim, the federal court would be required to exercise

   in rem jurisdiction over the same assets, and could not hear the case relying on personal

   jurisdiction; and (iii) the federal court action would “dispose of property that is in the custody of a

   state probate court,” id., not merely affect rights to that property. None of these requirements is

   satisfied, for any of the eight claims.

           Marshall stresses the need for actual state court custody of assets, and that the purpose of

   the probate exception is to prevent the federal court from disposing of assets in probate court

   custody. Id. at 312.




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           After Marshall, every circuit court that has considered this issue concluded that the probate

   court must have actual custody of assets, not merely jurisdiction over assets, for the probate

   exception to apply.6 A recent Tenth Circuit case, Dunlap v. Nielsen, 771 F. Appx. 846, 850 (10th

   Cir. 2019), emphasizes that custody is required and rejects the probate exception because the

   federal claim would not dispose of assets in probate court custody:

           The district court’s judgment . . . does not constitute the disposal of Estate assets in the
           custody of the Kansas state court. As a result, the probate exception does not apply on this
           basis. See Marshall, 547 U.S. at 312 (concluding probate exception does not apply where
           party is not “seek[ing] to reach a res in the custody of the state court”).

           District courts in the Tenth Circuit have followed Marshall and Dunlap: they inspected the

   actual state court custody over assets, rather than mere jurisdiction over them, and often rejected

   the probate exception for lack of custody, even where jurisdiction clearly existed.7 The Magistrate

   Report ignores the requirement for the state court to already have custody of assets.

           In the current case, the DPC lacks custody over the relevant trust assets; instead, the

   Northern District of Illinois has custody as part of an interpleader case, JPMorgan Chase Bank,

   N.A. v. Black, 18-cv-03447 (“Interpleader Case”), and has had it since 2018. The NDIL has

   repeatedly exercised that custody. The NDIL has issued orders that: (i) denied JPMorgan Chase


             6
               See Jimenez v. Rodriguez–Pagan, 597 F.3d 18, 24 (1st Cir. 2010); Glassie v. Doucette, 55 F.4th 58, 68–69
   (1st Cir. 2022); Lefkowitz v. Bank of New York, 528 F.3d 102, 106 (2d Cir. 2007); Three Keys Ltd. V. SR Utility
   Holding Co., 540 F.3d 220, 2278 (3d. Cir. 2008); Lee Graham Shopping Ctr., LLC v. Estate of Kirsch, 777 F.3d 678,
   681 & n.4 (4th Cir. 2015); Curtis v. Brunsting, 704 F.3d 406, 409 (5th Cir. 2013); Chevalier v. Estate of Barnhart,
   803 F.3d 789, 801 (6th Cir. 2015); Gustafson v. zumBrunnen, 546 F.3d 398, 400 (7th Cir. 2008); McAninch v.
   Wintermute, 491 F.3d 759, 766 (8th Cir. 2007); Goncalves By & Through Goncalves v. Rady Children's Hosp. San
   Diego, 865 F.3d 1237, 1252–56 (9th Cir. 2017); Dunlap v. Nielsen, 771 F. Appx. 846, 850 (10th Cir. 2019); Fisher v.
   PNC Bank, N.A., 2 F.4th 1352, 1356–57 (11th Cir. 2021).
           7
             See Linton v. Embry, No. 22-CV-00680-CMA-MDB, 2023 WL 1069491, at *3–4 (D. Colo. Jan. 27, 2023)
   (probate exception does not apply because “Nothing in the facts provided suggests that the Colorado probate court has
   custody of those funds currently.”); Tripp v. Mary M. Tripp Fam. Tr., No. 20-CV-02012-LTB-KLM, 2021 WL
   5537552, at *3 (D. Colo. Feb. 17, 2021); Simpkins v. Wright, No. 2:19-CV-236-JNP-CMR, 2019 WL 4745901, at *2
   (D. Utah Sept. 30, 2019).



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  Bank’s (“Chase”) motion to sell the trust assets and deposit the proceeds with the Court; (ii)

  ordered Chase to post a bond for the value of the assets and continue to invest them;8 (iii) froze

  the assets in dispute;9 (iv) specifically prohibited anyone from taking action to remove the trust

  assets without prior NDIL permission;10 (v) denied a trust creditor’s request to collect against the

  trusts;11 (vi) held that the probate exception does not apply, and instead retained custody over the

  trust assets and jurisdiction over the Interpleader Case;12 and (vii) allowed Plaintiff to proceed

  before the DPC for two of the claims at issue here (but not a third), explaining that the DPC could

  do so without impairing with the NDIL’s custody.13

           The NDIL also directly addressed federal subject matter jurisdiction over the trust assets

  and concluded that it has subject matter jurisdiction and the probate exception does not apply.14

  This is why the NDIL continues to exercise custody over the trust assets, and the DPC does not.

           Notably, claim #7 of the current action seeks to move trust assets from NDIL custody to

  the DPC. If the DPC had custody of those assets, this claim would not be needed. The existence



           8
               Minute Order (Aug 18, 2018) (doc. 26) (directing court clerk to accept surety bond in lieu of depositing
  trust assets in the court registry); Memorandum Opinion and Order, 2021 WL 4459482 (ND. Ill. Sept 29, 2021), at *8-
  *9.
           9
              Minute Order (May 15, 2019) (doc. 68) (“Plaintiffs [Chase Bank] shall not allow any withdrawals of the
  interpleader assets from the accounts or execute any instructions with respect to the interpleader assets, without prior
  approval from the Court. “); Minute Order (June 19, 2019) (doc. 69) (“The Court's prior order dated 5/15/2019 [68] is
  amended to preclude any party from seeking to enforce any court order requiring, or otherwise seek to effectuate, any
  turnover or withdrawal of the interpleader assets from the accounts held by Plaintiff, without first filing a motion with
  this Court seeking approval for such withdrawal.”).
           10
             Minute Order (June 19, 2019) (quoted in previous footnote); Memorandum Opinion and Order, 2021 WL
  4459482, at *10-*11, *13 (Sept. 29, 2021).
           11
                2021 WL 4459482 at *11-*12.
           12
                2021 WL 4459482 at *6-*7.
           13
              Order in Interpleader Case (Sept. 27, 2021) at 2 (doc. 251) (“The DPC can issue a decision regarding [the
  disclaimer and suspension of Samuel as SNT trustee] without going so far as touching the interpleader assets.”).
           14
                JPMorgan Chase Bank, N.A. v. Black, 2021 WL 4459482, at *7.



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  of this claim concedes that the DPC lacks custody over the trust assets, and therefore the probate

  exception does not apply. Claim #7 also violates the NDIL orders noted in point (iv) above.

         Even if the DPC had custody over the trust assets, the probate exception still would not

  apply to any of the eight claims. The probate exception applies only to claims that (1) would

  require the federal court to exercise in rem jurisdiction over the same assets (not satisfied for any

  of the claims), (2) do not merely add assets to the estate (this rules out remand of claims 1, 7, and

  8; the other claims don’t involve any movement of assets in the first place); and (3) would require

  the federal court to take action that would actually dispose of assets, not merely “affect the

  distribution of [the] assets.” Dunlap v. Nielsen, 771 F. Appx. at 850 (not satisfied for any of the

  claims). As Dunlap discussed, the probate exception does not apply even when the federal court

  makes a decision that directly affects the disposition of assets in probate court custody – because

  issuing such a finding is not the same thing as disposing of the assets.

   II. Joanne Waived All Objections to Procedural Defects of Removal; The 30-Day Limit to
    Object in 28 U.S.C. § 1447 is Absolute, and the District Court Has No Power to Extend It

         Under 28 U.S.C. § 1447(c):

             A motion to remand the case on the basis of any defect other than lack of subject matter
             jurisdiction must be made within 30 days after the filing of the notice of removal under
             section 1446(a). If at any time before final judgment it appears that the district court
             lacks subject matter jurisdiction, the case shall be remanded. . . .

  A. Procedural History of This Removal

         Plaintiff filed a new civil action in the Probate Court on November 4, 2022. On November

  30, Respondent filed a timely removal petition (doc. 1). On December 2, 2033, the Magistrate

  Judge filed an Order to Show Cause for why the case should not be remanded (doc. 5). On

  December 19, 2022, Respondent filed a Response to the Order to Show Cause (doc. 11). On




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  January 3, 2022, after Plaintiff had failed to move to remand within the 30-day period in § 1447(c),

  Respondent filed a Supplemental Response to the Order to Show Cause (doc. 14), discussing the

  implications of Plaintiff’s failure to timely move for remand. On January 20, 203, Plaintiff filed a

  motion to remand (doc. 19), which raised as the basis for remand solely lack of federal subject

  matter jurisdiction. This was 51 days after the removal petition was filed, 49 days after the Order

  to Show Cause was issued, and 32 days after Respondent had replied to the Order to Show Cause.

          On February 2, 2023, Respondent filed a reply to Plaintiff’s motion to remand (doc. 24).

  On February 3, 2023, Magistrate Judge Neuriter held a hearing on his Order to Show Cause.15 The

  Magistrate Report sua sponte recommends remand based on procedural defects in removal, even

  though: (1) Plaintiff’s response was outside the 30-day period specified in § 1447(c), and thus

  Plaintiff waived any procedural objections; and (2), Plaintiff did not raise any procedural

  objections, and therefore waived these objections, even if they had been timely.

  B. Circuit Court Unanimity on the Meaning of § 1447(c): For Procedural Objections, Courts
  Lack Power to Extend Objection Deadline or to Act Sua Sponte

          All circuit courts that have considered the scope of district court power under § 1447(c),

  including the Tenth Circuit in Farmland Nat'l Beef Packing Co., L.P. v. Stone Container Corp.,

  98 F. Appx. 752, 756 (10th Cir. 2004), are unanimous that:

          (i)      The district court has no power to extend the 30-day deadline for plaintiff to seek
                   remand on any grounds other than lack of subject matter jurisdiction, even for a
                   single day;16


           15
               On February 6, 2023, Respondent filed a Second Supplemental Response to the Order to Show Cause
  (doc. 27), to address new issues raised at the hearing. Judge Neuriter declined to consider this response (doc. 28).
          16
              Farmland Nat'l Beef Packing Co., L.P. v. Stone Container Corp., 98 F. Appx. 752, 756 (10th Cir. 2004);
  Hamilton v. Aetna Life and Cas Co., 5 F.3d 642, 644 (2d Cir. 1993); In re Shell Oil Co., 932 F.2d 1523, 1529 (5th
  Cir.1991); Loftis v. United Parcel Serv., Inc., 342 F.3d 509, 516–17 (6th Cir.2003); In re Continental Cas. Co., 29
  F.3d 292, 294–95 (7th Cir.1994); In re Bethesda Memorial Hosp., Inc., 123 F.3d 1407, 1410 (11th Cir. 1997).



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           (ii)      The district court has no power to remand on its own motion, on grounds other
                     than lack of subject matter jurisdiction, after the 30-day period has lapsed;17 and
           (iii)     the district court has no power to remand on its own motion, on grounds other
                     than lack of subject matter jurisdiction, even before the 30-day period has
                     lapsed.18

  As the Tenth Circuit explained in Farmland National, 98 F. Appx. at 756:

                  Because appellee's motion to remand was not filed within thirty days after the notice
                  of removal was filed in the district court, the district court lacked discretion under §
                  1447(c) to remand based on a procedural defect… All of the circuit courts to have
                  addressed the question have held that the thirty-day period binds the district court as
                  well as the party opposing removal.

           Even severe, obvious procedural defects in removal do not allow remand without a timely

  motion. In Hamilton v. Aetna Life and Cas Co., 5 F.3d 642,644 (2d. Cir. 1993), the plaintiff filed

  a complaint in state court, and later removed his own complaint to federal court (for which there

  is no statutory basis). Defendant’s untimely remand motion was denied, because the case could

  have been filed in federal court, and all procedural objections to removal were waived.19


            17
               Farmland National, 98 F. Appx. at 756 (10th Cir); Hamilton v. Aetna Life and Cas Co., 5 F.3d 642, 644
  (2d Cir. 1993); Air Shields, Inc, v. Fullam, 891 F.2d 263 (3rd Cir. 1989); Ellenburg v. Spartan Motors Chassis, Inc., 519
  F.3d 192, 198 (4th Cir. 2008); Federal Deposit Ins. Corp. v. Loyd, 955 F.2d 316, 322 (5th Cir. 1992); Loftis v. United
  Parcel Serv., Inc., 342 F.3d 509, 516–17 (6th Cir.2003); In re Continental Cas. Co., 29 F.3d 292, 294–95 (7th
  Cir.1994); Maniar v. F.D.I.C., 979 F.2d 782, 784-85 (9th Cir. 1992); Kelton Arms Condominium Owners Ass'n, Inc.
  v. Homestead Ins. Co., 346 F.3d 1190, 1193 (9th Cir.2003); In re Bethesda Memorial Hosp., Inc., 123 F.3d 1407,
  1410 (11th Cir. 1997).
           18
               In re FMC Corp. Packaging Sys. Div., 208 F.3d 445, 451 (3d Cir.2000); Ellenburg v. Spartan Motors
  Chassis, Inc., 519 F.3d 192, 198 (4th Cir. 2008); In re Allstate Ins. Co., 8 F.3d 219, 223 (5th Cir. 1993); Loftis v.
  United Parcel Serv., Inc., 342 F.3d 509, 516–17 (6th Cir.2003) (not distinguishing between period before or after 30
  days; stating that “technical defects in the removal procedure . . . may not be raised sua sponte and must be raised by
  a party within 30 days of removal or they are waived”); Page v. City of Southfield, 45 F.3d 128, 131 (6th Cir.1995),
  In re Continental Cas. Co., 29 F.3d 292, 294–95 (7th Cir.1994); Kelton Arms Condominium Owners Ass'n, Inc. v.
  Homestead Ins. Co., 346 F.3d 1190, 1193 (9th Cir.2003); Whole Health Chiropractic & Wellness, Inc. v. Humana
  Med. Plan, Inc., 254 F.3d 1317, 1319–21 (11th Cir.2001).
            19
               See also Air–Shields, Inc. v. Fullam, 891 F.2d 63, 65 (3d Cir.1989) (removal petition was untimely, but
  plaintiff’s failure to timely object waives this defect); In re Shell Oil Co., 932 F.2d 1523, 1528–29 (5th Cir.1991) (case
  was improperly removed because of fraudulent joinder; defect waived for failure to timely object); Loftis v. United
  Parcel Serv., Inc., 342 F.3d 509, 516 (6th Cir. 2003) (one defendant objected to removal, which automatically
  disqualifies removal, but the plaintiff’s failure to timely object waived this defect); Maniar v. FDIC, 979 F.2d 782,
  784–85 (9th Cir.1992) (removal petition was untimely, but the plaintiff’s failure to timely object waives this defect);


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           Lower courts within the Tenth Circuit have repeatedly held, consistent with Farmland

  National and the other circuits cited above, that the court has no power to remand on procedural

  grounds unless the plaintiff makes a timely motion to remand, even if the removal was clearly

  procedurally defective.20 They have also held, consistent with Farmland National, that the district

  court has no power to extend the 30-day deadline.21 The Magistrate Report, at 21-30, nonetheless

  recommends remand sua sponte, on procedural grounds not raised by plaintiff. This is beyond the

  district court’s power.

           Even if Plaintiff did not waive procedural objections, this case is still properly removed, as

  all statutory procedural requirements are satisfied. See Section VI, infra.




  In re Bethesda Mem. Hosp., Inc., 123 F.3d 1407, 1410 (11th Cir.1997) (several defendants did not join the removal;
  defect waived by plaintiff’s failure to timely object).
           20
              See, e.g., Nguyen v. Est. of Bingel, 2021 WL 2431906, at *2 (D. Colo.) (“If a motion for remand is not
  filed within the thirty days after the notice of removal, the district court lacks discretion under 28 U.S.C. § 1447(c) to
  remand based on a procedural defect… That is, the thirty-day period binds the district court as well as the party
  opposing removal… Thus, though the notice of removal is defective, the Court may not sua sponte remand the case.”);
  Bachman v. Fred Meyer Stores, Inc., 402 F. Supp. 2d 1342, 1346–47 (D. Utah 2005) (“even though defendants'
  consent to removal was untimely, plaintiff's motion to remand was also untimely. The Court lacks discretion to order
  remand based upon such procedural defect. Therefore, this Court denies plaintiff's Motion to Remand, and leaves the
  parties where they are, i.e. within the jurisdiction of this court notwithstanding defective removal.”); Beatty v. Frontier
  Int'l Trucks, Inc., 2012 WL 1454862, at *2 (N.D. Okla.) (“As removal in violation of § 1445(c) does not deprive this
  Court of subject matter jurisdiction, Plaintiff's Motion for Remand must comport with the thirty-day timing
  requirements of 28 U.S.C. § 1447(c). Here Plaintiff did not object to this violation [within 30 days], therefore . . . this
  Court is without authority to remand Plaintiff's claim, despite Defendant's removal in violation of the procedural
  requirements.”); SpiritBank v. McCarty, 2009 WL 1606535, at *1 (N.D. Okla.) (“the notice of removal was
  defective… However, this is a procedural defect under the removal statutes and plaintiff did not file a motion to
  remand. As this issue does not affect the Court's subject matter jurisdiction over the case, the Court may not sua
  sponte remand the case to state court.”). See also Park v. McGowan, No. 11- 2011 WL 4963759, at *5 (E.D.N.Y.) (“a
  court cannot substitute its judgment for the plain text of a statute. See Farmland National, 98 F. Appx. at 756.”).
           21
             See, e.g., Roche Constructors, Inc. v. One Beacon Am. Ins. Co., 2012 WL 1060000, at *2 (D. Colo.);
  Bordertown, LLC v. AmGUARD Ins. Co., 2022 WL 17538186, at *2 (D. Colo.); Hernandez v. Cope, No. CIV-19-436-
  G, 2019 WL 4534024, at *1 (W.D. Okla. Sept. 19, 2019); Scott v. Est. of Hershel, 2016 WL 4921428, at *1 (E.D.
  Okla.); Evans v. Liberty Nat. Life Ins. Co., 2013 WL 5637032, at *2 (N.D. Okla.); Smith v. Smart Buy Homes, 2008
  WL 5122840, at *2 (W.D. Okla.); Nguyen v. Est. of Bingel, 2021 WL 2431906, at *2 (D. Colo.); Kier v. Lowery,
  2017 WL 1015319, at *3 (N.D. Okla.); Bachman v. Fred Meyer Stores, Inc., 402 F.Supp.2d 1342, 1346-47 (D. Utah
  2005); Beatty v. Frontier Int'l Trucks, Inc., 2012 WL 1454862, at *2 (N.D. Okla.); SpiritBank v. McCarty, 2009 WL
  1606535, at *1 (N.D. Okla.).



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  C. The Magistrate Report Erred in Concluding that Plaintiff’s Failure to Timely Object Did
  Not Waive Procedural Objections

         If this Court is satisfied that Plaintiff’s failure to timely object waives all procedural

  challenges to removal, then, it does not need to read this section II.C. If the Court has doubts, this

  section II.C engages with specific arguments and cases in the Magistrate Report related to this

  issue, showing why they are erroneous, and reviews the legislative history.

         1. Summary of Magistrate Report’s Arguments on Waiver of Procedural Objections

         The Magistrate Report cites none of the circuit court decisions listed above, not even the

  directly relevant Tenth Circuit decision, Farmland National. Nor does the Magistrate Report cite

  any of the district court cases in the Tenth Circuit that cite and follow Farmland National and

  unanimously state that the court has no power to extend the 30-day rule.

         The Magistrate Report recognizes that sua sponte removal is not permitted after 30 days.

  The Magistrate Report continues, however, at 28-29:

         But in this case, within the 30 days mandated by section 1447(c), this Court issued its show
         cause order identifying potential procedural and jurisdictional problems with Mr. Black’s
         removal attempt. . . .
         Thus, within the requisite 30 days, procedural and jurisdictional improprieties of the
         removal were teed-up for briefing by the Court’s Order to Show Cause. Joanne can hardly
         be deemed to have waived those procedural deficiencies. Questions about the procedural
         propriety of the removal were before the Court via the show cause order within the 30 days
         mandated by § 1447(c), the Court believes it proper to consider procedural defects of the
         removal effort. See, e.g., Tengler v. Spare, 1995 WL 705142, at *5 n.3 (N.D. Cal.)
         (concluding that where an Order to Show Cause addressing procedural problems with
         removal is issued within the 30 day period, the Order to Show Cause should be treated as
         motion for purposes of § 1447(c)); In re Gold Messenger, Inc., 221 B.R. 259 (D. Colo.
         1998) (rejecting the notion that a Court cannot act sua sponte within the 30-day period
         based on procedural defects in the removal notice, but recognizing that a sua sponte remand
         for procedural defects after 30 days is not appropriate); Corry v. City of Houston, 832 F.
         Supp. 1095, 1096–97 (S.D. Tex. 1993) (explaining that “Congress' purpose in amending §
         1447(c) was not to altogether limit district courts' sua sponte remands but only to require
         that remands based on procedural defects be addressed within thirty days of removal”).



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         The Magistrate Report then recommends remand based on defects in removal procedure.

  The Magistrate Judge’s reasoning to support power to remand is unclear, but seems to be that:

         (i)     The Court has the power to extend the 30-day deadline in § 1447(c), and did so by
                 issuing the Order to Show Cause (even though the Order said nothing about
                 extending any deadlines);
         (ii)    The Court would have had the power to remand sua sponte within 30 days; and
         (iii)   It does not matter that Plaintiff did not raise procedural objections, ever, because:
                 (i) the Magistrate Judge did so; and (ii) Plaintiff showed up after the 30-day
                 deadline and objected to subject matter jurisdiction; and

         (iv)    The Court has the power to remand after 30 day, sua sponte based on procedural
                 objections not raised by the Plaintiff, because the Order to Show Cause was issued
                 before this period expired.

  Each of these steps is incorrect.

         2. No Power to Extend 30-Day Deadline for Plaintiff to Raise Procedural Objections

         All circuit courts that considered the issue have ruled that the 30-day deadline for the state

  court plaintiff to raise procedural objections in 28 U.S.C. § 1447(c) is absolute, and the district

  court cannot extend it. This includes the Tenth Circuit, which ruled in Farmland National, 98 F.

  Appx. at 756, that an objection filed 31 days after the removal petition was untimely. The 10th

  Circuit wrote (emphasis added):

         Because appellee’s motion to remand was not filed within thirty days after the notice of
         removal was filed in the district court, the district court lacked discretion under § 1447(c)
         to remand based on a procedural defect. See Loftis v. United Parcel Serv., Inc., 342 F.3d
         509, 516–17 (6th Cir. 2003); In re Bethesda Mem. Hosp., Inc., 123 F.3d 1407, 1410 (11th
         Cir. 1997); Hamilton v. Aetna Life & Cas. Co., 5 F.3d 642, 643–44 (2d Cir. 1993) (per
         curiam); In re Shell Oil Co., 932 F.2d 1523, 1528–29 (5th Cir. 1991). All of the circuit
         courts to have addressed the question have held that the thirty-day period binds the district
         court as well as the party opposing removal. See Loftis, 342 F.3d at 516–17; Bethesda Mem.
         Hosp., 123 F.3d at 1410; In re Continental Cas. Co., 29 F.3d 292, 294–95 (7th Cir. 1994);
         Hamilton, 5 F.3d at 643–44; Maniar v. FDIC, 979 F.2d 782, 784–85 (9th Cir. 1992); FDIC
         v. Loyd, 955 F.2d 316, 322 (5th Cir.1992); Air–Shields, Inc. v. Fullam, 891 F.2d 63, 65 (3d
         Cir. 1989).




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         3. No Power To Remand Sua Sponte Even Within 30 Days

         To support relying on its own Show Cause Order to extend the 30-day deadline for plaintiff

  to object to removal, the Magistrate Report cites no appellate cases, only three district court cases.

  Before addressing these cases, we review the appellate cases, from seven circuits, holding that the

  district court lacks power to remand sua sponte on procedural grounds at any time. The Fifth

  Circuit reversed sua sponte removal within 30 days in In re Allstate Ins. Co., 8 F.3d 219, 223 (5th

  Cir. 1993), writing:

               [Section 1447(c) leaves] no room for inherent authority; either the statute confers upon
               the court power to remand on its own initiative, or the court has no such power. Given
               Thermtron Products, Inc. v. Hermansdorfer, 423 U.S. 336 (1975); and [the Fifth
               Circuit’s prior decision in] FDIC v. Loyd, 955 F.2d 316 (5th Cir.1992), moreover, we
               are persuaded that the better reading precludes the existence of discretion in the district
               court to remand for procedural defects on its own motion. Section 1447(c)’s second
               sentence assigns to the court concern for its jurisdictional prerequisites; the first
               consigns procedural formalities to the care of the parties. We believe this to be a wise
               and warranted distribution. . . . [W]e can discern no basis, in either the language of the
               amended statute or in policy, for conferring upon the district courts discretion sua
               sponte to remand for purely procedural defects,

         The Seventh Circuit, in In re Continental Cas. Co., 29 F.3d 292, 294 (7th Cir. 1994), also

  reversed sua sponte removal within 30 days, as beyond the district court’s power under § 1447(c):22

               Ever since Ayers v. Watson, 113 U.S. 594 (1885), it has been accepted that non-
               jurisdictional objections to removal may be waived. The plaintiff has a right to remand
               if the defendant did not take the right steps when removing, but the plaintiff also may
               accept the defendant’s choice of a federal forum. Procedural defects in removal are in
               this respect similar to the lack of personal jurisdiction and other shortcomings that may
               be waived or forfeited. Fed.R.Civ.P. 12(h)(1).

  So did the Sixth Circuit, in Page v. City of Southfield, 45 F.3d 128, 133 (6th Cir. 1995):

               We also agree with the Fifth Circuit’s reasoning in In re Allstate that the two sentences
               of § 1447(c) distribute different roles to the court and the parties. Not only did Congress
               incorporate the word “motion” in the 1988 amendments where it had previously been

         22
              See also Pettitt v. Boeing Co., 606 F.3d 340, 342-43 (7th Cir. 2010).



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             absent, but it did so only in the first sentence, i.e., for procedural defects. The first
             sentence of § 1447(c) requires that a “motion” must be made “within 30 days after the
             filing of the notice of removal” to remand a case on the basis of a procedural defect.
             The second sentence, however, without mentioning “motion,” requires that if the
             district court lacks subject matter jurisdiction, “the case shall be remanded.” Thus, the
             court can, in fact must, dismiss a case when it determines that it lacks subject matter
             jurisdiction, whether or not a party has filed a motion. The inclusion of the term motion
             with respect to procedural defects, however, implies that a court must wait for a
             “motion” by a party before it is authorized by § 1447(c) to remand.

         See also Loftis v. United Parcel Serv., Inc., 342 F.3d 509, 516–17 (6th Cir. 2003) (emphasis

  added (“technical defects in the removal procedure . . . may not be raised sua sponte and must be

  raised by a party within 30 days of removal or they are waived.”). The Third, Ninth, and Eleventh

  Circuits concur. See Kelton Arms Condominium Owners Ass'n, Inc. v. Homestead Ins. Co., 346

  F.3d 1190, 1193 (9th Cir. 2003):

         [F]ive other circuits have addressed the question [of whether sua sponte remand is
         permitted within 30 days]. Each has held that the district courts have no authority to remand
         a case sua sponte for procedural defects. Whole Health Chiropractic & Wellness, Inc. v.
         Humana Med. Plan, Inc., 254 F.3d 1317 (11th Cir. 2001); In re FMC Corp. Packaging Sys.
         Div., 208 F.3d 445 (3d Cir. 2000); Page v. City of Southfield, 45 F.3d 128 (6th Cir.1995);
         In re Cont’l. Cas. Co., 29 F.3d 292 (7th Cir. 1994); In re Allstate Ins., 8 F.3d 219 (5th Cir.
         1993). . . . [W]e hold that the district court cannot remand sua sponte for defects in removal
         procedure.

  See also Ellenburg v. Spartan Motors Chassis, Inc., 519 F.3d 192, 197-98 (4th Cir. 2008)

  (emphasis added) (“defect must be asserted by a party’s motion to remand filed within 30 days.”).

         Against the background of circuit court unanimity, we turn to the three lower court cases

  cited in the Magistrate Report. Corry (S.D. Tex.) and Tengler (N.D. Cal.) assert that sua sponte

  remands on procedural remands are permissible within 30 days. These views were subsequently

  rejected by the Fifth Circuit in In re Allstate, and by the Ninth Circuit in Kelton Arms.

         In re Gold Messenger predates the Tenth Circuit decision in Farmland National; to the

  extent it departs from Farmland National, it is not good law. In dicta, In re Gold Messenger states


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  that the court disagrees with the appellate decisions in Page, Continental Casualty, and In re

  Allstate, which held that sua sponte remands are never permitted, and opines that to say “never”

  is too extreme. But its holding is consistent with these cases. The Gold Messenger court continues:

              A plaintiff has a right to remand if the defendant removed improperly, but also may
              accept the defendant’s choice of a federal forum and want to stay there. A sua sponte
              remand is inappropriate as it could deprive both parties of their preferred forum. See, e.g.,
              Page, 45 F.3d at 134 (“sua sponte remands on nonjurisdictional grounds run contrary to
              the goals of the statute”). A fortiori, where, as in the instant case, the bankruptcy judge
              makes a sua sponte remand for a procedural defect after the thirty day period from the
              filing of the notice of removal, such remand is based on a waived defect.

         In the present case, too, the Magistrate Judge sua sponte recommended remand for

  procedural defects after 30 days. The issuance of the Order to Show Cause, within the 30-day

  period, was not a remand.

         In short, none of the cases cited in the Magistrate Report supports district court’s power to

  remand sua sponte on procedural grounds.

         4. The Magistrate Judge Acted Sua Sponte, But Had No Power to Remand Sua Sponte
         on Procedural Grounds

         It is clear from the record that the Magistrate Judge acted sua sponte, in recommending

  remand for procedural reasons. He raised procedural concerns in his Show Cause Order. Then, he

  held a “telephonic Show Cause hearing.”23 The Magistrate Judge clarified that the sole purpose

  of the hearing was oral argument on the Show Cause Order:24

               [T]he Court notes that the purpose of the telephonic Show Cause hearing is oral
               argument on Mr. Black's Response (Dkt. #[11]) to the Court's Order to Show Cause
               (Dkt. #[5]). [Respondent’s] letter indicates that Mr. Black would like to file a reply
               brief to Joanne Black's response, but no reply is necessary.



         23
              Minute Order re [5] Order to Show Cause (Jan. 30, 2022) (doc. 20).
         24
              Minute Order (Jan 31, 2023) (doc. 23).



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  Moreover, only the Magistrate Judge raised procedural concerns with removal. Plaintiff, in her

  untimely motion, sought remand solely on grounds of federal subject matter jurisdiction.25 Yet

  sua sponte remand on procedural grounds is beyond the district court’s power.

          5. Procedural Objections are Waivable and Were Waived

          The Magistrate Judge erred in concluding that in light of the procedural issues raised by

  the Show Cause Order, Plaintiff “can hardly be deemed to have waived those procedural

  deficiencies.” Plaintiff can absolutely be deemed to have waived procedural objections. Plaintiff

  was the only party who could raise these objections, and did not do so, either within the 30-day

  period or in her untimely response. As the Fifth Circuit explained in In re Allstate, 8 F.3d at 223:

          Section 1447(c)’s second sentence assigns to the court concern for its jurisdictional
          prerequisites; the first consigns procedural formalities to the care of the parties. We believe
          this to be a wise and warranted distribution. . . .

  Accord, Page v. City of Southfield, 45 F.3d at 133 (6th Cir. 1995) (quoted above).

          As the Magistrate Report says, at 29, procedural issues were “teed-up for briefing by the

  Court’s Order to Show Cause.” Plaintiff, however, walked away from the tee, did not take a swing

  for more than 30 days, and never raised procedural concerns with the removal.

          6. The Legislative History of § 1447(c)

          This section summarizes the legislative history behind the current version of 28 U.S.C. §

  1447(c), which confirms that sua sponte remand on procedural grounds is not permitted.

          Congress passed two amendments to § 1447(c), in 1988 and in 1996, each time reducing

  the court’s power to remand. The 1988 amendment: (i) removed removal procedure as a basis for


          25
               See Plaintiff’s motion for remand (doc. 19) at 1 (emphasis added) (“Protected Person Joanne Black
  (“Joanne”) submits her response to Bernard’s Response to Order to Show Cause and Motion to Transfer Venue, and
  believes this Court should remand this matter to the Denver Probate Court for lack of subject matter jurisdiction.).



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  remand, unless a motion for remand was filed within 30 days; and (ii) clarified that a motion for

  remand (on grounds other than lack of subject matter jurisdiction) had to come from the plaintiff;

  the court could not remand sua sponte. The first two sentences of § 1447(c) read, after this

  amendment (emphasis added):

         A motion to remand the case on the basis of any defect in removal procedure must be made
         within 30 days after the filing of the notice of removal under section 1446(a). If at any time
         before final judgment it appears that the district court lacks subject matter jurisdiction, the
         case shall be remanded.

  The House Report accompanying this change explained:26

         So long as the defect in removal procedure does not involve a lack of federal subject matter
         jurisdiction, there is no reason why either State or Federal courts, or the parties, should be
         subject to the burdens of shuttling a case between two courts that each have subject matter
         jurisdiction.

         Congress then amended § 1447(c) again in 1996, to clarify its intent in 1988, that the only

  permitted basis for remand after 30 days is that the case could not have been brought in federal

  court in first instance. The first two sentences now read, after this further amendment:

         A motion to remand the case on the basis of any defect other than lack of subject matter
         jurisdiction must be made within 30 days after the filing of the notice of removal under
         section 1446(a). If at any time before final judgment it appears that the district court lacks
         subject matter jurisdiction, the case shall be remanded.

  The accompanying House Report explains:

               The intent of this amendment was to impose a 30-day limit on all motions to remand
               except in those cases where the court lacks subject matter jurisdiction. The intent of the
               Congress is not entirely clear from the [1988] wording of 28 U.S.C. § 1447(c), and it
               has been interpreted differently by different courts. S. 533 clarifies the intent of
               Congress that a motion to remand a case on the basis of any defect other than subject
               matter jurisdiction must be made within 30 days after the filing of the notice of removal
               under 28 U.S.C. § 1446(a).



         26
              H.R. Rep. 100-889, (1988), § 1009 (discussing changes to removal law).



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  D. Conclusion: Procedural Concerns Cannot Justify Remand

           Remand for procedural issues without a timely motion from Plaintiff is beyond the district

  court’s power. All procedural objections are waived.

           Once the 30-day period has expired, the only issue is federal subject matter jurisdiction for

  the removed claims. Another way to state the issue before this Court: Could the claims in the

  DPC Pleading have been filed in federal court in first instance? See Ariel Land Owners, Inc. v.

  Dring, 351 F.3d 611, 614 (3d Cir.2003) (“an irregularity in removal of a case to federal court is to

  be considered ‘jurisdictional’ only if the case could not initially have been filed in federal court.”).

   III. Federal Subject Matter Jurisdiction Exists for All Claims Because Each Claim Could
     Have Been Brought in Federal Court, and None Is Covered by the Probate Exception.

  A. Diversity Jurisdiction Exists and Is Not Disputed

           Removal was based on diversity, which is not contested, either as to complete diversity of

  parties or jurisdictional amount. Respondent alleged complete diversity of parties, and an amount

  in controversy exceeding the statutory minimum. Plaintiff has not disputed these prerequisites for

  diversity jurisdiction. Thus, they are now deemed established.27 The sole question for this Court

  is whether the probate exception applies.

  B. The Federal Court Must Exercise Jurisdiction If It Exists

           The cases discussed supra in Part II establish that the district court must accept the removed

  case if federal subject matter jurisdiction exists. This is not discretionary. The same principle

  applies to the probate exception. Unless this exception applies, the federal court must retain



           27
              When, as here, diversity jurisdiction is not contested, then “[i]t must appear to a legal certainty that the
  [facts on which diversity is based do not exist] to justify dismissal.” St. Paul Mercury Indemnity Co. v. Red Cab Co.,
  303 U.S. 283, 288-89 (1938). Moreover, “if jurisdiction exists at the time an action is commenced, such jurisdiction
  may not be divested by subsequent events.” Freeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426, 428 (1991).



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  jurisdiction; this is not discretionary. Marshall stresses that if federal jurisdiction exists, it must

  be exercised. See 547 U.S. at 298-99, where Justice Ginsburg begins the Marshall opinion by

  quoting from Cohens v. Virginia:

              We have no more right to decline the exercise of jurisdiction which is given, than to
              usurp that which is not given.” Cohens v. Virginia, 6 Wheat. 264, 404 (1821).

          Two hundred years of the Supreme Court precedents support this position. See, e.g.,

  Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 716 (1996) ("federal courts have a strict duty to

  exercise the jurisdiction that is conferred upon them by Congress."); Colo. River Water

  Conservation Dist. v. United States, 424 U.S. 800, 818 (1976) (commenting on the "virtually

  unflagging obligation of the federal courts to exercise the jurisdiction given them"); England v.

  Louisiana Bd. of Med. Exam'rs, 375 U.S. 411, 415 (1964) ("`When a federal court is properly

  appealed to in a case over which it has by law jurisdiction, it is its duty to take such jurisdiction.'"

  (quoting Wilcox v. Consol. Gas Co. of N.Y., 212 U.S. 19, 40 (1909)); Kline v. Burke Const.

  Co., 260 U.S. 226, 234 (1922) ("[the federal court [is] bound to take the case and proceed to

  judgment. It [cannot] abdicate its authority or duty in favor of . . . state jurisdiction."); Chicot

  County v. Sherwood, 148 U.S. 529, 534 (1893) ("[T]he courts of the United States are bound to

  proceed to judgment and to afford redress to suitors before them in every case to which their

  jurisdiction extends.").

  C. The Probate Exception Must Be Construed Narrowly

          Marshall makes clear that the probate exception, as a judicially created exception to the

  Congressional grant of jurisdiction, cannot be extended beyond its historical basis, and has a

  “distinctly limited scope,” 547 U.S. at 296. Circuit courts have accordingly construed the exception

  narrowly: “because of our unflagging obligation to exercise our jurisdiction, we must apply the


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  probate exception narrowly.” Fisher v. PNC Bank, N.A., 2 F.4th 1352, 1356 (11th Cir. 2021). See

  also Georges v. Glick, 856 F.2d 971, 973 (7th Cir. 1988) (“The [probate] exception is created by

  the judiciary, not by Congress. Consequently, we must construe the exception narrowly.”); Sianis

  v. Jensen, 294 F.3d 994, 999 (8th Cir. 2002).

  D. This Court Must Conduct a Claim-by-Claim Analysis of the Probate Exception

         The removed action contains eight claims. To assess whether the probate exception applies,

  the Court must conduct a claim-by-claim analysis. The claims to which the probate exception does

  not apply must stay removed, and any claims to which the probate exception does apply must be

  remanded. The requirement that the court must review each claim separately to decide whether

  the probate exception applies is simply a specific instance of the general requirement that federal

  courts review each claim separately and decide whether the court has federal subject matter

  jurisdiction for each claim.

         Many post-Marshall cases on the probate exception illustrate this principle: the courts

  analyze each claim separately to determine whether the probate exception applies. See, e.g.,

  Lefkowitz v. Bank of New York, 528 F.3d 102, 106 (2d Cir. 2007) (claim by claim analysis; five

  claims are within probate exception because “the federal court would have to assert control over

  property that remains under the control of the state courts,” but four other claims seeking damages

  are outside the probate exception); Three Keys Ltd. V. SR Utility Holding Co., 540 F.3d 220, 230

  (3d. Cir. 2008) (claim by claim analysis of whether probate exception applies); Wisecarver v.




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  Moore, 489 F.3d 747 (6th Cir. 2007) (claim by claim analysis; four claims were not barred by the

  probate exception, but three claims were barred).28

           The Magistrate Report does not engage in a claim-by-claim analysis. Moreover, for the

  one claim it considers separately, the damages claim against Samuel, the Magistrate Report

  recommends remand, on the improper grounds that “Claims against Samuel are supplemental to

  the ongoing conservatorship proceeding.” Magistrate Report at 34. However, removal is not

  discretionary. The damages claim against Samuel must remain in federal court unless the probate

  exception applies. The Magistrate Report does not cite, and Respondent was not able to find, any

  support for the proposition that a court can remand claims for which it has subject matter

  jurisdiction, because they are “supplemental” to other claims. Moreover, there are no other open

  claims between the parties in the DPC; all claims were removed.

  E. The Much Narrower Scope of the Probate Exception After Marshall

           Marshall, after stressing that the federal courts must exercise jurisdiction when given,

  greatly and expressly narrows prior scope of the probate exception in three principal ways: (i) it

  limits the probate exception to property in the custody of a probate court; (ii) it requires that both

  the probate court and the state court exercise in rem jurisdiction over the same assets; and (iii) it




           28
              See also Lebron-Yero v. Lebron-Rodriguez, 2022 WL 611589 (1st Cir.) (of four claims, probate exception
  applies to only one claim); Pelczar v. Pelczar, 833 F. Appx. 872 (2d Cir. 2020) (damages claim against executor is
  not barred by the probate exception, but claim involving transfer of an estate asset, is barred); McKie v. Kornegay, ,
  2022 WL 4241355, at *3 (2d Cir. Sept. 15, 2022) (separate analysis of each claim; some are barred by the probate
  exception, others not); Applebaum v. Fabian, 2022 WL 17090172, at *2 (3d Cir. 2022) (only one claim out of five is
  barred by the probate exception); Chevalier v. Estate of Barnhart, 803 F.3d 789, 802-803 (6th Cir. 2015) (separate
  analysis of each of the six raised claims finding that only the sixth involved in rem jurisdiction; then further analyzing
  that claim); Jones v. Brennan, 465 F.3d 304. 307-308 (7th Cir. 2006) (claim for misadministration of probate estate
  by probate court is barred by probate exception, but claim for damages is not barred); Bedree v. Bedree, 396 F. Appx.
  312, 315 (7th Cir. 2010) (claim-by-claim analysis, with only one claim of many barred by the probate exception).



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  stresses that, while federal courts cannot dispose of property in a probate court’s custody, they can

  take a broad range of actions that may affect rights to that property.

          Marshall clarifies that the probate exception is of “distinctly limited scope”, 547 U.S. at

  296, 310. The probate exception reflects "the general principle that, when one court is exercising

  in rem jurisdiction over a res, a second court will not assume in rem jurisdiction over the same

  res.”   Id. at 311.   It then states that the probate exception applies only in three specific

  circumstances, id. at 296, 311-12:

          The probate exception reserves to state probate courts [1] the probate or annulment of a
          will and [2] the administration of a decedent’s estate; it also [3] precludes federal courts
          from endeavoring to dispose of property that is in the custody of a state probate court. But
          it does not bar federal courts from adjudicating matters outside those confines and
          otherwise within federal jurisdiction.

  In this and almost all other probate exception cases, only the third is relevant.

          Marshall’s new rule – “dispose of property that is in the custody of a probate court” –

  significantly narrows down the scope of prior cases, including Markham v. Allen, 326 U.S. 490,

  494 (1946) and Princess Lida of Thurn & Taxis v. Thompson, 305 U.S. 456, 466 (1939). Markham

  allowed federal courts to invoke the probate exception not only where the federal action would

  “dispose of property” within state court custody, but also when it would “interfere with the probate

  proceedings”, in claims like suits against fiduciaries. Marshall calls this broad approach

  “incoheren[t]” and expressly rejects it. 547 U.S. at 311.

          Marshall lists a number of circuit court opinions that were issued under the prior, broader

  probate-exception rule, which include cases involving suits for breach of fiduciary duties, and

  rejects them. Id. Post-Marshall circuit courts have unanimously held that claims for breach of

  fiduciary duties and other claims for damages against trustees and estate administrators are outside



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  the probate exception.29 To the extent Markham, Princess Lida, and their progeny imply a broader

  scope for the probate exception than Marshall, they are overruled.

           In sum, Marshall holds that the probate exception applies when all of the following

  elements are met: (1) a state court has custody of assets; and (2) the state court is exercising in rem

  jurisdiction over those assets; and (3) the federal court would have to itself exercise in rem

  jurisdiction over the same assets, and could not resolve the claim by exercising in personam

  jurisdiction, and (4) the federal court would have to dispose of assets in the custody of state court,

  as opposed to merely adjudicate parties’ rights with respect to those assets. Thus, the federal courts

  can hear all claims, including the tort claim at issue in Marshall, that do not require disposal of

  assets in the custody of a state court, and do not require the federal court to act based on in rem

  jurisdiction with respect to assets already under state court custody.

           Several circuit courts have separated the Marshall standard into two steps. See Three Keys

  Ltd. V. SR Utility Holding Co., 540 F.3d 220, 2278 (3d. Cir. 2008), Chevalier v. Estate of Barnhart,

  803 F.3d 789, 801 (6th Cir. 2015); Curtis v. Brunsting, 704 F.3d 406, 409 (5th Cir. 2013):

                Marshall requires a two-step inquiry into (1) whether the property in dispute is estate
                property within the custody of the probate court and (2) whether the plaintiff’s claims
                would require the federal court to assume in rem jurisdiction over that property.




           29
              See Lefkowitz v. Bank of New York, 528 F.3d 102, 108 (2d Cir. 2007) (The probate exception can no longer
  be used to dismiss ‘widely recognized tort[s]’ such as breach of fiduciary duty . . . merely because the issues intertwine
  with claims proceeding in state court.); Glassie v. Doucette, 55 F.4th 58, 68-69 (1st Cir. 2022) (damages claim against
  executor is outside probate exception); Three Keys Ltd v. SR Utility Holding Co., 540 F.3d 220, 229 (3d Cir. 2008);
  Wisecarver v. Moore, 489 F.3d 747, 750 (6th Cir. 2007); Jones v. Brennan, 465 F.3d 304, 307–308 (7th Cir.2006);
  McAninch v. Wintermute, 478 F.3d 882, 890 (8th Cir. 2007); Critchlow v. Critchlow, 617 F. Appx. 664, 665 (9th Cir.
  2015) (claim for breach of fiduciary duty is outside probate exception); Curtis v. Brunsting, 704 F.3d 406, 409 (5th
  Cir. 2013) (same); Fisher v. PNC Bank, N.A., 2 F.4th 1352, 1356 (11th Cir. 2021).




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          The first step (whether the probate court has custody over assets) is straightforward. The

  second step (whether plaintiff’s claims require the federal court to assume in rem jurisdiction) is

  more involved. Circuit courts, including the Tenth Circuit, have developed several approaches to

  determining whether the second step is met.

          One approach (Approach A), employed in the Tenth Circuit and several other circuits,

  flows directly from Marshall, and focuses not on the in rem versus in personam labels, but on the

  substance of the relief sought -- whether the relief requested from the federal court would require

  it to actually “dispose of assets”30 in probate court custody, (which triggers the probate exception),

  as opposed to merely adjudicating rights with respect to property in probate court custody (does

  not trigger the probate exception).31

          A second approach (Approach B) is to ask whether the federal claim seeks to add assets to

  those already in state court custody; if so, the claim is outside the probate exception.32 This

  approach is only relevant for claims that seek to move assets, and can be seen as the converse of

  Approach A: actions to dispose of assets in state court custody trigger the probate exception;

  actions to add assets to that custody do not.

          A third approach is to ask whether the federal court would be required to rely on in rem

  jurisdiction to resolve the claim, or could resolve the claim by relying on in personam

  jurisdiction.33 We will call this Approach C.


          30
             See Marshall, 547 U.S. at 292; Dunlap, 771 F. Appx. at 850; Fisher, 2 F.4th at 1356; Lee Graham
  Shopping Ctr., LLC, 777 F.3d at 681; Lefkowitz, 528 F.3d at 106.
          31
               Goncalves By & Through Goncalves v. Rady Children's Hosp. San Diego, 865 F.3d 1237 (9th Cir. 2017).
          32
                See Jiminez v. Rodriguez-Pagan, 597 F.3d at 24; Gustafson, 546 F.3d at 400.
          33
             See Three Keys Ltd. V. SR Utility Holding Co., 540 F.3d 220, 2278 (3d. Cir. 2008), Chevalier v. Estate of
  Barnhart, 803 F.3d 789, 801 (6th Cir. 2015); Curtis v. Brunsting, 704 F.3d 406, 409 (5th Cir. 2013).



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         We consider first the requirement that the probate court have custody of the relevant assets,

  and then, the three approaches to the second step.

  F The First Prong of the Marshall Test Is Not Satisfied: The DPC Has No Custody over
  Disputed Assets

         1. Actual State Court Custody of Assets is Required

         The probate exception applies only where there would be an active conflict between two

  courts, where the federal court would be “endeavoring to dispose of property that is in the custody

  of a state probate court.” 547 U.S. at 292 (emphasis added). Marshall repeatedly stresses that the

  relevant assets must already be in the state court’s custody. See, e.g., Marshall, 547 U.S. at 296

  and at 310 (quoting Markham v. Allen, 326 U.S. 490, 494 (1946)). Marshall specifically states

  that an old, broader standard from Markham, “interfere[nce] with the probate proceedings” is

  “incoheren[t]” and is overruled. 547 U.S. at 311.

         See also Marshall, 547 U.S. at 296 and at 310 (emphasis added, again quoting Markham):

         [W]hile a federal court may not exercise its jurisdiction to disturb or affect the possession
         of property in the custody of a state court, ... it may exercise its jurisdiction to adjudicate
         rights in such property where the final judgment does not undertake to interfere with the
         state court’s possession save to the extent that the state court is bound by the judgment to
         recognize the right adjudicated by the federal court.

  And yet again, 547 U.S. at 296 and at 311-12 (emphasis added):

         [T]he probate exception . . . precludes federal courts from disposing of property that is in
         the custody of a state probate court. But it does not bar federal courts from adjudicating
         matters outside those confines and otherwise within federal jurisdiction.

  And at 312 (emphasis added), where Marshall allowed a tort claim to proceed, even though related

  to an ongoing probate proceeding, because:

         [Plaintiff] seeks an in personam judgment against Pierce, not the probate or annulment of
         a will. . . . Nor does she seek to reach a res in the custody of a state court.




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         Subsequent decisions in multiple circuits have confirmed that the state court must have

  actual custody of assets, not merely jurisdiction over assets, for the probate exception to apply.

  See, e.g., Three Keys Ltd. V. SR Utility Holding Co., 540 F.3d 220, 227-28 (3d. Cir. 2008)

  (carefully analyzing whether relevant property was “in the custody of the probate court”);

  Chevalier v. Estate of Barnhart, 803 F.3d 789, 801 (6th Cir. 2015); and Curtis v. Brunsting, 704

  F.3d 406, 409 (5th Cir. 2013)), all adopting the two-part test quoted above, with actual state court

  custody of assets as the first step. See also Struck v. Cook County Public Guardian, 508 F.3d 858,

  860 (7th Cir. 2007); Fisher v. PNC Bank, N.A., 2 F.4th 1352, 1356 (11th Cir. 2021) (“Fisher is not

  asking the district court to dispose of property that is in the custody of a state probate court.”). See

  also James Pfander and Michael Downey, In Search of the Probate Exception, 67 Vand. L. Rev.

  1533, 1574 (2014):

         This principle of deference to prior custody explains why federal courts cannot “dispose of
         property that is in the custody of a state probate court.” (quoting Marshall, 547 U.S. at
         312).

  And id. at 1578:

         Probate exception decisions in [Curtis v. Brunsting] and other circuits have similarly turned
         on whether a state probate court already had control over the property at the center of the
         dispute.

         The Tenth Circuit has recognized the narrow scope of the probate exception after Marshall,

  and the need for actual probate court custody over assets. Dunlap v. Nielsen, 771 F. Appx. 846,

  850 (10th Cir. 2019), holds that a breach of contract claim against an estate can be brought in

  federal court, even though the federal court’s “decision would likely be binding in the Probate

  Case.” The court explained:

         [W]here diversity jurisdiction exists, federal courts retain jurisdiction to decide matters that
         are probate-related or that may impact the state probate court's performance of the three


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          tasks reserved to it [by Marshall], so long as the federal court itself does not engage in
          these tasks. See, e.g., [Marshall] at 299-300 (holding claim did not fall within probate
          exception even though it raised “questions which would ordinarily be decided by a probate
          court in determining the validity of the decedent's estate planning instrument” (internal
          quotation marks omitted)); Markham v. Allen, 326 U.S. 490, 494 (1946) (declaring federal
          courts have jurisdiction to adjudicate rights in property, even though the state probate court
          may be bound by the federal court's judgment); Lee Graham Shopping Ctr., LLC v. Estate
          of Kirsch, 777 F.3d 678, 681 & n.4 (4th Cir. 2015) (holding federal court had jurisdiction
          to decide contract interpretation issue though it could affect the state court's distribution of
          estate assets); Lefkowitz v. Bank of New York, 528 F.3d 102, 106 (2d Cir. 2007) (“[W]here
          exercise of federal jurisdiction will result in a judgment that does not dispose of property
          in the custody of a state probate court, even though the judgment may be intertwined with
          and binding on those state proceedings, the federal courts retain their jurisdiction.”).

          The Tenth Circuit further cited Lee Graham for the proposition that the probate exception

  applies only to claims that seek actual distribution of estate assets, not claims whose resolution

  will bind the probate court and affect how the probate court distributes assets. See id.:

             [R]esolving a question that may affect the distribution of estate assets does not
             constitute a distribution of estate assets subject to the probate exception.

          2. The DPC Does Not Have Custody of the Trust Assets

          The DPC does not have custody over the relevant trust assets. Instead, a federal court, the

  NDIL, has had custody since the Interpleader Case was filed in May 2018. The NDIL obtained

  custody through the interpleader statute, but this is not relevant for the probate exception: the

  relevant question, under Marshall, is which court has custody of assets, not how that custody was

  obtained. As discussed in the Introduction, the NDIL has actively exercised custody over the trust

  assets, including issuing multiple orders on asset freezes, instructions on asset management,

  decisions on whether assets can be sold, and whether assets can be claimed by third parties.

  Conversely, the DPC has not had custody over assets at least since the NDIL obtained custody in

  2018.




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         Plaintiff already argued before the NDIL that the DPC had in rem jurisdiction over the trust

  assets and sought dismissal, claiming that the NDIL could not exercise in rem jurisdiction over the

  same assets. The NDIL rejected this claim, determined that the probate exception did not apply,

  retained its own jurisdiction, and, most critically, retained custody over assets.34 Moreover, the

  NDIL issued an order, expressly banning all parties from trying to manufacture competition for

  control over the trust assets in another court by seeking in other courts any orders related to transfer

  of assets without prior approval from the NDIL.35 The NDIL allowed two claims to be brought

  before the DPC only because doing so would not impair the NDIL’s own custody, explaining: “the

  DPC can issue a decision . . . without going so far as touching the interpleader assets.”36

          The entire point of Claim #7 of the current case is to bring trust assets from the custody of

  the NDIL to the custody of the DPC – relief that that the NDIL already denied. By filing this claim,

  Plaintiff concedes that the DPC has no custody of disputed assets.

         In short, there cannot be a dispute today as to who has actual custody of the assets – it is

  only the NDIL. Federal action with respect to the removed claims cannot dispose of assets within

  the DPC’s custody, because DPC lacks custody. Necessarily, then, all of the removed claims are

  outside the probate exception.

         3. All Claims in the Current Case Fail to Meet the Custody Requirement

         All of the claims are outside the probate exception, because none involve property in

  DPC custody.



         34
              JPMorgan Chase Bank, N.A. v. Black, 2021 WL 4459482, at *7.
         35
              Minute Order (June 19, 2019) (doc. 69); see also 2021 WL 4459482, at at *10-*11, *13.
         36
              NDIL Order in Interpleader Case (Sept. 27, 2021) (doc. 251).



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                  Claim #1 seeks damages against a trustee; it seeks to obtain personal assets that
           belong to the trustee; these assets are not currently in the custody of the DPC.
                  Claims #2-6 seek trustee suspension. They do not involve disposal of assets at all.
           In any case, the relevant assets are the trust assets, which are in custody of the NDIL, not
           the DPC.
                 Claim #7 seeks an order to compel Respondent to transfer trust assets that are in
           NDIL custody to DPC custody. This claim shows, on its face, that these assets are not in
           DPC custody.
                  Claim #8 seeks to reverse a disclaimer. This involves only adjudication of legal
           claims, not disposal of assets, and moreover, the underlying assets are the trust assets,
           which are in NDIL custody.37

           In sum, none of the eight claims survive the first step (“custody” requirement) of the two-

  step Marshall test. Because Marshall requires that both steps be met for the probate exception to

  apply, this alone is enough to defeat the probate exception for all claims.

           4. The Magistrate Report Ignores the Custody Requirement

           The Magistrate Report ignores the Marshall requirement that the probate court must

  already have custody over the relevant assets. The Report never mentions that the NDIL expressly

  asserted its custody over assets and banned any party from asking other courts for orders that would

  move the assets from the NDIL custody (as claim #7 does), without advance permission from the

  NDIL. The Report does not cite Dunlap or the other post-Marshall circuit court cases emphasizing

  the need for actual probate court custody of disputed assets. Instead, as discussed below, the




            37
                The conclusion that the probate exception does not apply, because the trust assets are in the NDIL’s
  custody, is consistent with the NDIL’s decision to allow the DPC to hear a challenge to the disclaimer. The NDIL
  found that the probate exception did not apply, and then exercised discretion under the interpleader statute to allow
  Plaintiff to bring a claim in the DPC concerning the disclaimer. The interpleader statute expressly gives such
  discretion to the NDIL, but the removal statute expressly does not give discretion to this Court. The question before
  this Court is only whether each claim can be remanded based on the probate exception. The Magistrate Report, at 17,
  32, ignores the difference between: (i) the NDIL’s discretionary decision to let the DPC consider a challenge to the
  disclaimer, while retaining jurisdiction to make a final determination over this claim; and (ii) the existence of federal
  subject matter jurisdiction to hear this claim, a question that the NDIL has already answered affirmatively.



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  Report cites two pre-Marshall cases from the Tenth Circuit, which are no longer good law, neither

  of which involves issues of custody of assets.

  G. The Second Prong of the Marshall Test, Approach A, Is Not Satisfied: The Removed
  Claims Do Not Require the Federal Court to “Dispose of Property that Is in the Custody of
  a State Probate Court”

         1. The Probate Exception Applies Only where the Federal Court Would Have to
         Dispose of Estate Assets

         This requirement comes directly from Marshall, 547 U.S. at 311-312 emphasis added):

             The probate exception… precludes federal courts from endeavoring to dispose of
             property that is in the custody of a state probate court. But it does not bar federal courts
             from adjudicating matters outside those confines and otherwise within federal
             jurisdiction.

         This requirement has been elaborated on in multiple circuit court decisions, including the

  Tenth Circuit in Dunlap, which explains that a claim “that does not dispose of property in the

  custody of a state probate court” is not subject to the probate exception “even though the federal

  judgment would be intertwined with and binding on those state proceedings.” Dunlap, 771 F.

  Appx. at 850 (quoting Lefkowitz, 528 F.3d at 106). See also id.:

             [R]esolving a question that may affect the distribution of estate assets does not
             constitute a distribution of estate assets subject to the probate exception.

         Other circuits have reached the same conclusion. See Lee Graham Shopping Ctr., LLC,

  777 F.3d at 681 (4th Cir. 2015) (federal court can decide contract interpretation issue even though

  its decision could affect the state court’s distribution of estate assets); Lefkowitz v. Bank of New

  York, 528 F.3d at 106 (quoted in Dunlap); U.S. v. Tyler, 528 F. Appx. 193, 197 (3d Cir. 2013)

  (probate exception is not implicated because “[t]he district court’s judgment did not remove any

  property from the probate court's control”); Goncalves By & Through Goncalves v. Rady

  Children's Hosp. San Diego, 865 F.3d 1237, 1253 (9th Cir. 2017) (probate exception does not



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  apply: dispute over subrogation rights in removed medical malpractice action does not dispose of

  property in state court’s control); Gustafson v. zumBrunnen, 546 F.3d 398, 400 (7th Cir. 2008)

  (probate exception is not implicated because there is no disposition of property).

         Adjudication of rights to property is not considered disposal of that property, and thus is

  outside the probate exception, even if that adjudication will bind the probate court and thus affect

  how the probate court distributes property. Dunlap, 771 F. Appx. at 850. The federal court is

  permitted to act when the plaintiff seeks “merely to establish ... a right to share in [the settlement

  funds].” United States v. Bank of N.Y. & Tr. Co., 296 U.S. 463, 478 (1936). “[T]he principle ...

  that the court first assuming jurisdiction over property may maintain and exercise that jurisdiction

  to the exclusion of the other ... has no application to a case in a federal court based upon diversity

  of citizenship, wherein the plaintiff seeks merely an adjudication of his right of his interest as a

  basis of a claim against a fund in the possession of a state court.” Princess Lida of Thurn & Taxis

  v. Thompson, 305 U.S. 456, 466 (1939). See also Dunlap, 771 F. Appx. at 850; Goncalves, 865

  F.3d at 1254; Lefkowitz v. Bank of New York, 528 F.3d at 106

         2. None of the Eight Claims Would Require the Federal Court to Dispose of Assets in
         the Conservatorship Estate

         None of the eight claims would require the federal court to dispose of assets in the

  conservatorship estate. Thus, all would be outside the probate exception, even if the DPC had

  custody of the trust assets.

                Claims #1, 7, and 8. As discussed further in the next section, these claims seek to
         add assets to the conservatorship estate. None of them seeks to dispose of assets in the
         conservatorship estate.

                Moreover, Claim #7 seeks to move assets into the custody of the probate court from
         the federal court custody; this is the opposite of Marshall’s concern that the federal court



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           should not dispose of assets in probate court custody.38 The probate exception only covers
           attempts to move assets from state court custody to federal court custody, not in reverse,
           as is happening here.

                  Claims 2-6 (suspend-trustee claims). These would not move assets at all. Marshall
           requires “dispos[al] of property that is in the custody of a probate court”, and “disposal”
           requires the movement of assets. Marshall, 547 U.S. at 312.

  H. The Second Prong of the Marshall Test, Approach B, Is Not Satisfied for the Three Claims
  That Would Bring Assets into the Probate Estate

           1. Claims that Bring Assets into an Estate Are Outside the Probate Exception

           A series of post-Marshall cases hold that the probate exception does not apply to claims

  that would bring assets into the state court’s custody. This is a natural consequence of the Marshall

  requirement that the disputed assets must already be in probate court custody. Assets that the

  plaintiff wants to bring into the state court’s custody are not currently in the state court’s custody;

  thus, the federal court action cannot dispose of assets within that custody.

           This principle has been broadly recognized at both the circuit and district court levels. See

  Jiminez v. Rodriguez-Pagan, 597 F.3d 18, 24 (1st Cir. 2010):

           [N]either the money nor the apartment are yet part of the decedent’s estate, neither are yet
           in the custody of a Puerto Rico probate court. Indeed, the very relief sought here is
           enlargement of the decedent’s estate through assets not currently within it. While divvying
           up an estate falls squarely within the probate exception, merely increasing it does not.

           Likewise, in Gustafson v. zumBrunnen, 546 F.3d 398, 400 (7th Cir. 2008), the court held

  that the probate exception did not apply because “the judgment sought would just add assets to the

  decedent’s estate.” Many lower courts apply this rule.39


           38
                As noted above, this claim is also barred by an NDIL order.
           39
               In re Emerald Casino, Inc., 223 F. Supp. 3d 740, 746 (N.D. Ill. 2016) (“the cases do appear to establish
  as a general principle that the court's jurisdiction extends to any matter that would add assets to [an] estate,” as long
  as how the estate is then distributed is left to the probate court); Capponi v. Murphy, 772 F.Supp. 2d 457, 466 (S.D.N.Y.
  2009) (probate exception does not apply “because plaintiff seeks ‘new money to be paid into the Estate”); Est. of
  Brown v. New York Life Ins. Co., 2018 WL 1630958, at *7 (W.D. La.), report and recommendation adopted, 2018


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           2. All Eight Claims Either Seek to Bring Assets into the Probate Estate, or Have Nothing
           to Do with Estate Assets

           Of the eight claims, claims 1, 7, and 8 seek to add assets to the conservatorship and thus

  are outside the probate exception for this reason; the other five claims do not involve any

  movement of assets, and thus are outside the probate exception because they do not dispose of

  assets in probate court custody.

                   Claim #1 seeks personal damages against a trustee for the breach of fiduciary
           duties. If this claim succeeds, it would at best add money to the probate estate (here,
           conservatorship). Thus, it’s outside of the probate exception.
                  Claims #2 through #6 (trustee-suspension claims) do not involve adding assets to
           the conservatorship. But neither do they involve disposal of estate assets. Thus, they are
           outside the probate exception.
                    Claim #7 seeks an order against Respondent to transfer the custody of the disputed
           assets from the NDIL to the DPC. This claim explicitly seeks to add assets to the estate
           (conservatorship), and thus, it is not covered by the probate exception. This claim also
           seeks to move assets into the custody of the probate court from the federal court custody;
           this is the opposite of Marshall’s concern that the federal court should not dispose of asset
           in probate court custody.



  WL 1630947 (W.D. La.) (probate exception does not apply to “a suit that seeks to add assets to the decedent's estate”);
  Groman v. Cola, 2007 WL 3340922, at *5 (S.D.N.Y.) (distinguishing instances in which the probate exception would
  not apply because plaintiff seeks “ ‘new money’ to be paid into the Estate,” from those where the probate exception
  would apply because the plaintiff seeks “existing money to be distributed out of the Estate”); Browder v. Browder,
  2022 WL 2116577, at *3 (S.D. Ind.) (“Both of Ms. Browder's legal theories seek to add property to the estate … so
  the probate exception doesn't apply on that basis.” (quotations omitted)); Popple v. Crouse, 2007 WL 2071627, at *2
  (D. Conn.) (probate exception does not apply where a plaintiff seeks to recover assets to add them to the estate);
  Sinclair v. Sampson, 2017 WL 758486, at *2 (D.R.I.), report and recommendation adopted, 2017 WL 750479 (D.R.I.)
  (“divvying up an estate falls squarely within the probate exception, merely increasing it does not” (quotations
  omitted)); Wolfram v. Wolfram, 78 F. Supp. 3d 758, 764 (N.D. Ill. 2015) (“fiduciary-breach claims are safe from the
  probate exception”; federal courts may “take jurisdiction over claims that would add assets to an estate currently
  undergoing probate”); Est. of Maier v. Goldstein, 2017 WL 5569809, at *5 (N.D. Ill.) (“If … the assets need to be
  added to the estate they are, of course, not currently a part of the estate and so not (yet) under control of the probate
  court.”); Popple v. Crouse, 2007 WL 2071627, at *2 (D. Conn.) (claims for breach of fiduciary duty, conversion, and
  theft were outside the probate exception because they sought to add assets to the estate); Brown-Thomas v. Hynie, 441
  F. Supp. 3d 180, 215 (D.S.C. 2019) (claims that add assets to estate do not implicate the probate exception); Marcus
  v. Quattrocchi, 715 F. Supp. 2d 524, 534 (S.D.N.Y. 2010) (“Requests to return property to an estate or trust, rather
  than to dispose of property currently part of an estate or trust, do not fall within the probate exception”); Abercrombie
  v. Andrew Coll., 438 F.Supp.2d 243, 255–56 (S.D.N.Y.2006) (claim did “not ask the [c]ourt to decide how to distribute
  any assets of [decedent's] estate, but only to determine whether additional assets ... should be added to the estate, thus
  making the probate exception inapplicable”).



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                 Claim #8 seeks to reverse the disclaimer. If this succeeds, the assets would be added
         to the estate (conservatorship). Thus, it is outside the probate exception.

  I. The Second Prong of the Marshall Test, Approach C, Is Not Satisfied: The Removed
  Claims Do Not Require the Federal Court to Exercise In Rem Jurisdiction, Because They
  Can Be Resolved via In Personam Jurisdiction

         1. The Probate Exception Applies Only when the Federal Court Cannot Use In
         Personam Jurisdiction to Resolve Claims

         The second prong of the two-step Marshall test asks whether, to resolve a claim, the federal

  court is required to exercise in rem rather than in personam jurisdiction. If a claim could have been

  brought under in personam jurisdiction, the probate exception does not apply. This rule also comes

  directly from Marshall, 547 U.S. at 311-31: “the general principle [behind the probate exception]

  is that, when one court is exercising in rem jurisdiction over a res, a second court will not assume

  in rem jurisdiction over the same res.”. See also Goncalves, 865 F.3d at 1253.

         2. Federal Law Determines Which Claims Are In Personam versus In Rem

         To determine whether the federal action could be filed in personam (and thus is outside the

  probate exception), or only in rem (and thus potentially within the probate exception, if it involves

  property in the state court’s custody), some pre-Marshall cases apply state law. Marshall rejects

  this approach and clarifies that state court determinations as to the nature of their own jurisdiction

  do not affect federal jurisdiction, which turns on federal law. See Marshall, 547 U.S. at 314:

         Directly on point, we have held that the jurisdiction of the federal courts, “having existed
         from the beginning of the Federal government, [can]not be impaired by subsequent state
         legislation creating courts of probate.” McClellan v. Carland, 217 U.S. 268, 281 (1910).

  Thus, a state court’s decision to treat a claim as in personam versus in rem has no effect on how a

  federal court resolves this issue. A clear example of this principle, where state jurisdiction was in

  rem but federal jurisdiction was held to be in personam even though it affected probate assets, is

  U.S. v. Tyler, 528 F. Appx. 193, 197 (3d Cir. 2013), where the government sought to enforce a tax


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  claim against property within a decedent’s estate. The Third Circuit ruled that this claim was a

  judgment in personam against the executors. See also Chevalier v. Estate of Barnhart, 803 F.3d

  789, 801 (6tth Cir. 2015):

               [Marshall] firmly rejected the proposition that a federal court’s subject-matter
               jurisdiction is dependent upon state law. . . . We therefore look to only federal law to
               determine whether the probate exception to federal diversity jurisdiction applies.

          3. All Claims in the Current Case Seek to Determine Personal Rights and Obligations
          of Parties, Thus All Can Be Resolved Based on In Personam Jurisdiction

          “[W]here a party initiates an action merely to ‘determine the personal rights and obligations

  of the [parties],’ the court asserts in personam jurisdiction.” Hanover Ins. Co., 68 F.Supp.3d at

  1109 (quoting Pennoyer v. Neff, 95 U.S. 714, 727, (1877)). See also United States v. Bank of New

  York & Tr. Co., 296 U.S. 463, 478 (1936) (suits seeking “to establish … a right to share in property,

  and thus to obtain an adjudication which might be had without disturbing the control of the state

  court” are in personam); Commonwealth Tr. Co. of Pittsburgh v. Bradford, 297 U.S. 613 (1936)

  (determination of rights to trust funds was not in rem because it sought “only to establish rights”

  rather than dispose of property); Goncalves, 865 F.3d at 1254 (“It is well settled that [actions

  seeking to establish a right with respect to assets] are properly classified as in personam.

  See Princess Lida of Thurn & Taxis v. Thompson, 305 U.S. 456, 466…”).40 A federal court “may

  proceed to judgment in personam, adjudicating rights in the res and leaving the in personam

  judgment to bind as res judicata the court having jurisdiction of the res.” Id. at 1253.

          Each claim in the current case involves only establishing parties’ rights with respect to

  assets, not distribution of assets out of the probate court custody (and the probate court has no


          40
             See also see also In Personam, BLACK'S LAW DICTIONARY (10th ed. 2014) (defining an action in
  personam as one “brought against a person” that “can be enforced against all the property of the judgment-debtor”).



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  custody in the current case anyway). Numerous Supreme Court decisions make it clear: these

  claims can be brought as in personam claims; they are therefore outside the probate exception.

           The Magistrate Report does not address this line of the Supreme Court decisions. Instead,

  it repeatedly says that the DPC has in rem jurisdiction over trust assets. But this is irrelevant. It is

  also irrelevant whether some of the claims could be brought in federal court via in rem

  jurisdiction.41 The question, under Marshall, is whether the federal court is required to exercise in

  rem jurisdiction to resolve each claim, or whether it can exercise in personam jurisdiction. The

  Magistrate Report does not list a single reason for why in personam jurisdiction is not available

  for any claim, and concludes for Claim #1, that it is available.

           4. All Claims Can Be Brought Under In Personam Jurisdiction

                     All of the removed claims can be brought based on in personam jurisdiction and

           thus are outside of the probate exception, even if some could also be brought in rem.

                   Claim #1 seeks personal damages against a trustee for breach of fiduciary duties.
           Marshall holds that a claim for damages is in personam and outside the probate
           exception.42 Many circuit courts expressly held that claims for damages for breach of
           fiduciary duty against trustees and executors are in personam.43




           41
              For example, as discussed below, the trustee suspension claims can be based on in personam jurisdiction
  over the trustees. It is thus not relevant whether they could also be based on in rem or quasi in rem jurisdiction.
           42
                Marshall, 547 U.S. at 312 (“Vickie seeks an in personam judgment against Pierce”)
           43
              See Lefkowitz v. Bank of New York, 528 F.3d 102, 108 (2d Cir. 2007) (The probate exception can no longer
  be used to dismiss ‘widely recognized tort[s]’ such as breach of fiduciary duty or fraudulent misrepresentation merely
  because the issues intertwine with claims proceeding in state court.); Glassie v. Doucette, 55 F.4th 58, 68-69 (1st Cir.
  2022) (damages claim for breach of fiduciary duty against executor is outside probate exception); Three Keys Ltd v.
  SR Utility Holding Co., 540 F.3d 220, 229 (3d Cir. 2008); Wisecarver v. Moore, 489 F.3d 747, 750 (6th Cir. 2007);
  Jones v. Brennan, 465 F.3d 304, 307–308 (7th Cir.2006); McAninch v. Wintermute, 478 F.3d 882, 890 (8th Cir. 2007);
  Critchlow v. Critchlow, 617 F. Appx. 664, 665 (9th Cir. 2015) (claim for breach of fiduciary duty is outside probate
  exception); Curtis v. Brunsting, 704 F.3d 406, 409 (5th Cir. 2013) (same); Fisher v. PNC Bank, N.A., 2 F.4th 1352,
  1356 (11th Cir. 2021).



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                   Claims #2-6 seek suspension of trustees. Trustee removal/suspension claims are
           routinely based on personal jurisdiction over the trustees.44 Trustee suspension is an action
           “to determine the personal rights and obligations of the [parties]”, Hanover Ins. Co., 68
           F.Supp.3d at 1109 (quoting Pennoyer v. Neff, 95 U.S. 714, 727, (1877)); and therefore is
           the type of action for which “the court asserts in personam jurisdiction.” Id. Indeed,
           Plaintiff or her conservator have already brought claims to remove Bernard and Samuel as
           SNT trustees multiple times outside the DPC, based on in personam jurisdiction.45

                   Claim #7 seeks an order to compel Respondent to transfer custody of the trust assets
           from the NDIL to the DPC. This claim seeks to compel action from Respondent, and thus
           relies on in personam jurisdiction over Respondent, and is outside the probate exception.
           Moreover, the requested relief would bring money into the estate, such an action cannot be
           based on in rem jurisdiction over that estate; and requires in personam jurisdiction.

                  Claim #8 seeks to reverse the disclaimer. This is an in personam action, despite its
           appearance. Reversal of the disclaimer does not move any assets. It only “determine[s] the
           personal rights and obligations of the [parties]” with respect to assets. Hanover Ins. Co.,
           68 F.Supp.3d at 1109 (quoting Pennoyer v. Neff, 95 U.S. 714, 727, 5 Otto 714, 24 L.Ed.
           565 (1877)). Pennoyer held that such actions are in personam.

           In sum, all of the claims are outside the probate exception because all can be brought based

  on in personam jurisdiction.

  J. The Magistrate Report Relies on Pre-Marshall Doctrine on the Probate Exception

           The Magistrate Report does not cite Dunlap or other post-Marshall circuit court cases that

  develop the two-step test. Instead, it cites two pre-Marshall cases from the Tenth Circuit, Beren v.

  Repfogel, 24 F.3d 1226, 1228-29 (10th Cir. 1994) and Cassity v. Pitts, 995 F.2d 1009, 1011 (10th

  Cir. 1993), which are no longer good law.

           Beren applies the probate exception to a fraud claim against trustees. It relies on the old

  rule from Markham v. Allen, 326 U.S. 490, 494 (1946) that federal courts should “not interfere



           44
               See Chevalier v Estate of Barnhart, 803 F.3d 789, 802 (6th Cir. 2015) (in personam action is “[a]n action
  brought against a person rather than property.”); Bogert’s, The Law of Trusts and Trustees § 523 (“The jurisdiction of
  the court to remove a trustee may be predicated on power over either the trust property or the parties.”).
           45
                See discussion of these prior efforts in Part IV.B infra.



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  with the probate proceedings”; Marshall called that rule “incoheren[t]” and expressly overruled it.

  Marshall, 547 U.S. at 311. Likewise, Cassity bars a tort action, brought personally against trustees

  for fraud. This too is directly contrary to Marshall, which held that the probate exception allows

  damages claims against trustees and executors, and only bars actions that “dispose of property that

  is in the custody of a state probate court.” 547 U.S. at 296. Both cases also rely on a unique

  Oklahoma statute to determine whether federal jurisdiction would be in rem. Marshall rejects that

  approach too, 547 U.S. at 314, holding that federal law determines this issue.46

           The Magistrate Report cites only two post-Marshall circuit cases on the probate exception,

  neither from the Tenth Circuit: one for the proposition that the probate exception may potentially

  apply to conservatorships and can bar removal of a guardian, Struck v. Cook County Public

  Guardian, 508 F.3d 858, 860 (7th Cir. 2007), and the other applying the probate exception to a

  request for an accounting for a testamentary trust which was within probate court custody and was

  being actively managed by that court as part of a decedent’s probate proceeding, Mercer v. Bank

  of N.Y. Mellon, N.A., 609 F. Appx. 677, 678–79 (2d Cir. 2015). Neither is relevant here. The

  removed claims do not seek to replace Joanne’s conservator, nor do they seek an accounting. The

  Magistrate Report does not cite the many post-Marshall circuit court cases, discussed above, which

  define the boundaries of the probate exception.

  K. Summary of Removed Claims and Probate Exception Requirements

           Table 1 summarizes each claim and indicates how the four requirements for the probate

  exception discussed above would apply to it. Per Marshall, the probate exception does not


           46
              Both cases are also distinguishable. Beren involved a challenge to will validity, which was within the
  probate exception. Cassity involves an action seeking to distribute “various trust properties” from the probate court’s
  custody; there is no similar claim here.



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  apply, unless: (1) the state court already has custody of assets, and (2) the federal court must

  endeavor to dispose of assets in state court custody; and (3) the federal court must act in rem and

  cannot resolve the claim in personam; and (4) the federal action must not merely add assets to

  the estate. Each of the eight claims fails to satisfy at least three of the four requirements.

               Table 1. Summary of the Probate Exception for the Removed Claims
  Table lists the 8 claims brought in the current case and aspects of each relevant to whether remand is proper:
  (1) does the DPC have custody of the relevant assets (here, the assets of the SNT and the Issue Trust); (2)
  would the claim require the federal court to dispose of assets in probate court custody; (3) would the federal
  court be required to exercise in rem jurisdiction to resolve the claim, or could act in personam; and (4)
  would the claim merely add assets to the conservatorship estate. The probate exception would apply only
  for claims for which columns (1)-(3) are “yes” and column (4) is “no” or “n.a.”
                                             (1)             (2)           (3)            (4)
                                                          Requires       Requires
                                          DPC Has                                     Would Add
                                                       Federal Court Federal Court
  Claim                  Against       Custody Over                                    Assets to
                                                        to Dispose of to Use In Rem
                                       Relevant Assets                              Conservatorship
                                                       Estate Assets Jurisdiction
  1. Damages            Samuel as            No              No            No            Yes
  against Samuel as    SNT trustee
  SNT trustee
  2. Suspend           Bernard as            No                 No               No                n.a.
  Bernard as Issue     Issue Trust
  Trust Trustee          Trustee
  3. Suspend            Samuel as            No                 No               No                n.a.
  Samuel as Issue      Issue Trust
  Trust trustee          trustee
  4. Suspend            Samuel as            No                 No               No                n.a.
  Samuel as SNT        SNT trustee
  trustee
  5. Suspend            Samuel as            No                 No               No                n.a.
  Samuel as 2013       2013 Trust
  Trust trustee          trustee
  6. Suspend           Bernard as            No                 No               No                n.a.
  Bernard as 2013      2013 Trust
  Trust trustee          trustee
  7. Order Bernard     Bernard and           No                 No               No                Yes
  to deposit trust      Samuel as
  assets with DPC     SNT and Issue
                      Trust trustees
  8. Reverse             Unclear             No                 No               No                Yes
  disclaimer




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  IV. Additional Claim-by-Claim Analysis to Decide Whether the Probate Exception Applies

           This section IV provides additional support, including factual details, for why the probate

  exception does not apply to each of the removed claims, and engages with statements made and

  cases cited in the Magistrate Report. To the extent that the Court is satisfied that the probate

  exception does not apply to any of the claims, it does not need to read this section.

  A. Claim #1 –Damages Claim Against Samuel Black

         1. Summary of Why Probate Exception Does Not Apply

         For damages claim against Samuel Black, as SNT Trustee, none of the four Marshall

  requirements is satisfied. For all claims, the DPC lacks custody over relevant assets. Even if the

  DPC had custody, this claim would not require the federal court to dispose of any assets in the

  custody of the DPC. Further, any damages would add assets to the conservatorship, rather than

  remove assets. Finally, a damages claim can be brought in personam, as Marshall directly holds.

  The damages award will be paid personally by the trustee.

         The damages claim against Samuel is similar to the tortious interference claim in Marshall,

  which sought damages based on the defendant’s actions in a probate proceeding. In the current

  case, Plaintiff’s damages claim asserts that she had to incur legal fees to defend against actions

  brought in Illinois by Bernard and Samuel, as majority SNT trustees.47 This will not do. As stated

  by the Second Circuit in Lefkowitz v. Bank of New York, 528 F.3d 102, 108 (2d Cir. 2007),

  following Marshall’s narrowing of the probate exception:

               The probate exception can no longer be used to dismiss ‘widely recognized tort[s]’
               such as breach of fiduciary duty or fraudulent misrepresentation merely because the
               issues intertwine with claims proceeding in state court.


         47
              Plaintiff’s Motion before DPC (Nov. 4, 2022) (doc. 1, att. 1), at 20-22.



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  Other circuits are unanimous in following Marshall and holding that a breach of fiduciary duty

  claim seeking damages against a trustee or executor is not covered by the probate exception.48

           Plaintiff and her conservator have already sought unsuccessfully sought damages in Illinois

  state court against Bernard and Samuel as SNT trustees, for breach of fiduciary duty, invoking

  only personal jurisdiction.49 Manifestly, the conservator did not believe that this was an in rem

  claim, or that only the DPC could address it.

           In a related case in the EDNY, Issue Trust beneficiaries sued minority SNT trustee Anthony

  Dain for breach of fiduciary duties. Dain argued that the probate exception barred a claim for

  damages against him for breach of fiduciary duty. He lost. The EDNY ruled that an action seeking

  personal damages against a trustee was not within the probate exception, citing Marshall.50 So too

  here. The only difference is that here the damages claim is against a different SNT trustee, Samuel.

           2. Removal is Not Discretionary: the Federal Court Cannot Remand this Claim
           Because Federal Subject Matter Jurisdiction Exists

           The Magistrate Report, at 33, basically concedes that the damages claim against Samuel is

  outside the probate exception:

                 This [claim] could be characterized as an independent, in personam, claim against
                 Samuel for breach of fiduciary duty causing damage to the conservatorship estate
                 which, under the logic of Marshall, would not necessarily implicate the probate


           48
               See, e.g., Glassie v. Doucette, 55 F.4th 58, 68-69 (1st Cir. 2022) (damages claim against executor is
  outside probate exception); Three Keys Ltd v. SR Utility Holding Co., 540 F.3d 220, 229 (3d Cir. 2008); Wisecarver
  v. Moore, 489 F.3d 747, 750 (6th Cir. 2007); Jones v. Brennan, 465 F.3d 304, 307–308 (7th Cir.2006); McAninch v.
  Wintermute, 478 F.3d 882, 890 (8th Cir. 2007); Critchlow v. Critchlow, 617 F. Appx. 664, 665 (9th Cir. 2015) (probate
  exception does not apply to claims for breach of fiduciary duty); Curtis v. Brunsting, 704 F.3d 406, 409 (5th Cir. 2013)
  (claim for breach of fiduciary duty outside probate exception); Fisher v. PNC Bank, N.A., 2 F.4th 1352, 1356 (11th
  Cir. 2021).
           49
            Goodwin v. Black, Case 2018-CH-00563 (Circuit Court for Cook County, Illinois, Chancery Division).
  See Complaint ¶ 4 (“This Court has personal jurisdiction over Defendants . . . .”).
           50
                Black v. Dain, Case 1:16-cv-01238 (E.D.N.Y.), Order on Motions to Dismiss at 14-17 (Aug. 16, 2018).



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             exception. The federal court arguably could retain jurisdiction over such a claim if it
             were filed independently.

         This is not just “arguable” – it is required by Marshall and confirmed by decisions of

  multiple circuit courts. This claim must stay in federal court. The Magistrate Report, at 34,

  develops prudential and procedure arguments for remanding. Those arguments are irrelevant. The

  federal court has no discretion to remand a removed claim for which it has subject matter

  jurisdiction. The only relevant question is whether the probate exception applies to this claim,

  assessed separately from the other removed claims.

         The first reason offered by the Magistrate Judge for remand is that Samuel’s actions:

             are intimately related to the ongoing conservatorship. Samuel’s actions as trustee of
             the trusts that contain conservatorship assets arguably damaged the conservatorship.
             Removing just a discrete claim against Samuel from an ongoing conservatorship
             proceeding runs counter to the principle that parties may not parse out certain claims
             for removal while leaving other parts of a case behind. Claims against Samuel are
             supplemental to the ongoing conservatorship proceeding.

  Respondent did not “parse out certain claims for removal.”. The removal petition includes all

  eight claims in the DPC Pleading; there are no other active claims before the DPC against anyone.

  Moreover, whether removal was procedurally proper is no longer relevant; procedural objections

  to removal have been waived. This quote also invokes prudential considerations – the damages

  claim is related to other claims before the DPC. The Marshall court rejected such considerations,

  and adopted a hard, narrow rule as to when the probate exception applies. When the exception

  does not apply, the federal court lacks discretion; it must hear all claims within its jurisdiction.

         3. Samuel Consented to Removal, and Procedural Challenges to Removal Are Waived

         The second reason the Magistrate Report offers for remand of Claim #1 is that:




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               Samuel has not appeared. . . . [Respondent] is not authorized to act as an attorney on
               behalf of Samuel. Thus, there is no basis to treat the purported claim against Samuel
               as having been properly removed.

  This objection goes to removal procedure. Respondent removed, on behalf of all defendants, with

  their consent, in a manner he believes was procedurally proper. But in any case, procedural

  objections to removal have been waived. Co-defendant consent to removal is a procedural issue,

  as the Tenth Circuit stated in Farmland National, 98 F. Appx. at 755. Other circuits concur.51

           In sum, the damages claim against Samuel Black is an in personam claim, does not dispose

  of any assets in the custody of a state probate court; all procedural objections are waived, and the

  claim must remain removed.

  B. The Trustee Suspension Claims (Claims #2 through #6)

           1. Summary of Why the Suspend-Trustees Claims Are Outside the Probate Exception

           For these claims, one of the probate exception requirements discussed above is irrelevant

  (does the claim add assets to the probate estate). None of the other three are satisfied. As is the

  case for all claims, the DPC lacks custody over relevant assets. Even if it had custody, these claims

  manifestly would not require the federal court to dispose of estate assets. Moreover, they can be

  brought based on in personam over the trustees, and thus do not require the federal court to exercise

  in rem jurisdiction.




  51
      See. e.g., Balazik v. County of Dauphin, 44 F.3d 209, 213 (3rd Cir.1994) (“[f]ailure of all defendants to join is a
  ‘defect in the removal procedure’ within the meaning of 1447(c), but is not deemed to be jurisdictional.”); Johnson v.
  Helmerich & Payne, Inc., 892 F.2d 422, 423 (5th Cir.1990) (“failure to join all the defendants in a removal petition is
  not a jurisdictional defect”); Midlock v. Apple Vacations W., Inc., 406 F.3d 453, 455 (7th Cir. 2005) ("The requirement
  [that all defendants join in removal] is not a jurisdictional defect and hence is waivable."); In re Ocean Marine Mut.
  Protection & Indem. Ass'n, Ltd., 3 F.3d 353, 356 (11th Cir.1993) (failure to comply with rules requiring all defendants
  to join in removal constitutes a defect in removal procedure).



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          2. The Suspend-Trustee Claims Can Be Brought In Personam; Plaintiff Is Precluded
          from Arguing that These Claims Can Only Be Brought In Rem Because Plaintiff
          Repeatedly Brought them In Personam in the Past

          There is no reason why hearing the claims against trustees, either for damages or for

  suspension, would require the federal court to exercise in rem jurisdiction over the trust corpus, as

  opposed to in personam jurisdiction over the trustees. It is irrelevant whether such claims could be

  brought in rem. If a claim can be brought in personam, it is outside the probate exception. The

  Magistrate Report never addresses this issue.

          Plaintiff and her conservator have already sought trustee removal several times in other

  courts, relying each time on in personam jurisdiction. She sought removal in New York state court

  in 2016,52 and again in Illinois state court in 2018.53 These claims failed, for a good reason – there

  is no evidence that Bernard and Samuel ever harmed the family trusts. Plaintiff sought yet again

  to suspend Bernard and Samuel as SNT trustees before the NDIL; this claim is pending.54

  Plaintiff’s current action is thus her fourth attempt to get the same remedy.

          The DPC has recognized that trustee removal (and thus, trustee suspension) can be sought

  based on in personam jurisdiction. In 2017, the DPC ordered that an action be brought in another

  court seeking to remove Bernard as SNT Trustee.55 The DPC repeated this demand in 2019.56


          52
             Motion by Joanne Black (March 14, 2016) in In the Matter of the Application of Bernard Black for the
  Appointment of a Guardian of the Person and Property of Joanne Black, Index No. 80253/2014 (N.Y. Supreme Court
  for Richmond County) (seeking “an Order removing Bernard Black and Samuel Black as [SNT] trustees”).
          53
            Complaint, Jeanette Goodwin, as Conservator for Joanne Black, v. Bernard Black et al., Case 2018 CH-
  00563 (Chancery Court for Cook County, Ill. (Jan. 16, 2018).
          54
              Answer and Counterclaim by Anthony Dain and Jeanette Goodwin in Interpleader Case at 45 (Aug, 18,
  2018) (doc. 32) , and similar First Amended Counterclaims and Crossclaims (Dec. 30. 2021) (doc. 219).
          55
              DPC Order (Nov. 3, 2017), (“The Court further ORDERS that it shall be advised regarding all actions that
  are pending regarding removal of Bernard Black as [SNT] trustee and if none are pending, an explanation as to why
  no such actions have been initiated”).
          56
               Transcript of DPC hearing (Oct. 3, 2019), at 11.



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          In the Interpleader Case, Dain and Joanne’s conservator has sought an order declaring that

  minority SNT trustee Dain has the sole right to access or control over the funds in the SNT.”57

  Manifestly, they view this relief, equivalent to suspension, as within the in personam jurisdiction

  exercised by the NDIL. The NDIL permitted Plaintiff to seek to suspension of Samuel as SNT

  trustee in the DPC because "the DPC can issue a decision . . . without going so far as touching the

  interpleader assets.”58 For the same reasons, a federal court can address trustee suspension without

  “touching the interpleader assets.” This takes these claims outside the probate exception.

          For purposes of the probate exception, as explained in Chevalier v Estate of Barnhart, 803

  F.3d 789, 802 (6th Cir. 2015), an in personam action is “[a]n action brought against a person rather

  than property.” The trustee-suspension claims are clearly brought against the trustees. Bogert’s,

  The Law of Trusts and Trustees § 523, confirms that a decision to suspend or remove a trustee can

  be based on personal jurisdiction over the trustee.

          The jurisdiction of the court to remove a trustee may be predicated on power over either
          the trust property or the parties. . . . [I]f personal service is obtained on the trustee-
          defendant, the fact that the trust property is in another state does not interfere with the
          court’s jurisdiction.

  Similarly, a review of jurisdiction over trusts and trustees, for the American College of Trusts and

  Estates Counsel, states that actions seeking trustee removal are considered in personam:59




          57
             Dain and Goodwin Answer and Counterclaim (Aug. 17, 2018), Claim for relief (b); Dain and Goodwin
  First Amended Counterclaims and Crossclaims (Dec. 30, 2021), claim for relief (b).
          58
               NDIL Order in Interpleader Case (Sept. 27, 2021) (doc. 251).
          59
                     Rohan Kelley, Jurisdiction for Probate and Trust Proceedings (2020), at 3,
  https://floridafellowsinstitute.org/wp-content/uploads/2020/01/ACTEC-Florida-Institute-Jurisdiction-Estates-and-
  Trusts-min.pdf ( (“Some examples of trust-related actions that are in personam include those: . . . To remove a
  trustee.”.)



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         To be sure, as stated in Bogert’s § 523, trustee removal can also be sought based on in rem

  jurisdiction over trust assets. But the probate exception only bars federal courts from acting if,

  from the two-part test quoted above (emphasis added), this “would require the federal court to

  assume in rem jurisdiction over that property.” Respondent is not aware of any post-Marshall

  cases that apply the probate exception where the federal court could act based on in personam

  jurisdiction, because the court might have also relied on in rem jurisdiction over assets.

         3. Response to the Magistrate Report

         The Magistrate Report, in its brief discussion of the probate exception at 32-33: (i) fails to

  address whether the DPC has custody of the trust assets; (ii) fails to conduct a claim-by-claim

  analysis; (iii) does not discuss the suspend-trustee claims separately from the other claims; and

  (iv) offers no argument and cites no cases for why the federal court could not suspend trustees

  based on in personam jurisdiction over the trustees.

         The Magistrate Report cites a related case of this family saga, Black v. Dain, 2017 WL

  11696660 (E.D.N.Y.). Magistrate Report at 18. In that case, other beneficiaries of the Black family

  trusts brought a case against SNT trustee Anthony Dain, seeking, among other things, (1) damages

  against Anthony Dain for the breach of fiduciary duties, (2) the removal of Dain as an SNT trustee;

  and (3) to use trust assets to pay trusts’ legal fees. Judge Amon allowed the claim for damages

  against trustee Dain to go forward, but held that the probate exception prevented her from

  removing a trustee or accessing trust assets, writing that “The key issue in the jurisdictional

  analysis is whether plaintiffs’ claims concern the res that another state controls.” Id. at *9.

         First, there is a critical difference between the EDNY decision and the current case. The

  EDNY decision was issued in 2017, before the NDIL acquired custody of the trust assets in 2018.



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  Perhaps the EDNY assumed that the DPC had custody over the trust assets; more likely it never

  addressed this issue. In any event, the DPC clearly lacks custody today. The probate exception

  does not apply where there are no assets in the custody of a state probate court.

          Second, the EDNY erred. It used the broad standard, “concern the res”, which is overruled

  by Marshall. Under Marshall, 547 U.S. at 312, the federal court action must seek to “dispose of

  property in the custody of a state probate court.” Suspending trustees does not dispose of property.

  The EDNY decision also did not address the Marshall requirement that the federal court would

  need to exercise in rem jurisdiction over assets in probate court custody. Yet the removal claim

  against Dain was based on in personam jurisdiction.

          The Magistrate Report cites Struck v. Cook County Public Guardian, 508 F.3d 858 (7th

  Cir. 2007), but Struck is inapposite. Struck involves an action by a son to remove a guardian

  appointed for his mother by a state court; the action was a de facto attempt to overrule a state court

  decision. In contrast, the claims brought before this Court are not seeking to uproot any decisions

  made by a state probate court. There are also no claims currently pending before the DPC, except

  this removed action. Further, in Struck, the res was the mother; the state court’s only exercise of

  custody over res was the appointment of a guardian. It was impossible to remove the guardian

  without de facto overruling the state court’s exercise of custody over that res. But the trustee

  suspension claims in this case are independent from the DPC’s custody over trust assets (which it

  does not have anyway). Thus, the normal Marshall rule applies: claims that do not require a federal

  court to dispose the assets in state court custody are outside the probate exception.60


          60
              The analogy to Struck in this case would be a federal court action seeking to remove Jeanette Goodwin as
  Joanne’s conservator. The Magistrate Report also cites Mercer v. Bank of New York Mellon N.A., 609 F. Appx. 677
  (2d Cir. 2015). This case did not involve removal or suspension of trustees.



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  C. Claim #7 (Seeking Order to Turn Over Assets)

         1. Summary of Why The Asset-Turnover Claim Is Outside the Probate Exception

         As discussed above, the probate exception applies only to assets in state court custody. The

  claim for asset turnover, however, involves assets in NDIL custody. Indeed the whole point of

  this claim is for the DPC to obtain that custody. This claim would also not dispose of assets in

  state court custody, even if the DPC had custody. And the probate exception does not apply to

  claims that would bring additional assets into an estate, which asset turnover would do.

         The claim for asset turnover is also an in personam claim, directed to Bernard Black. Any

  action to move trust assets can be taken only by the trustees of these trusts. As Bogert’s, the Law

  of Trusts and Trustees § 292 explains (emphasis in original):

         Personal jurisdiction over the trustee or other party defendant will be necessary to impose
         a personal liability or obligation on the defendant by an in personam decree.

  There is a strong analogy to claims for specific performance. See Chevalier v. Estate of Barnhart,

  803 F.3d 789, 802 (6th Cir. 2015) (claim for specific performance involving an estate asset is

  outside the probate exception because it is in personam). So too here, because the transfer-assets

  claim seeks to compel performance by Bernard Black.

         Even if this claim could have been brought in rem, it can clearly be brought in personam.

  The availability of in personam jurisdiction defeats the probate exception.

         2. Remand is Improper because the Asset Turnover Claim Violates an NDIL Order

         Chase Bank filed the Interpleader Case in the NDIL in 2018 in response to the conflict

  between DPC orders and orders by other courts. This filing placed the trust assets in the NDIL’s

  custody. To block efforts to move assets from its custody, the NDIL also issued an order that:




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          preclude[s] any party from seeking to enforce any court order requiring, or otherwise seek
          to effectuate, any turnover or withdrawal of the interpleader assets from the accounts held
          by [Chase Bank], without first filing a motion with this Court seeking approval for such
          withdrawal.61

  Plaintiff filed the current action without seeking or obtaining NDIL approval, in direct violation

  of this. The asset-turnover claim violates a commitment made by Joanne’s Illinois counsel to the

  NDIL that no such relief had been or would be sought.62 This Court should not reward Plaintiff

  for violating a federal order by returning her to her preferred forum, the DPC.

          3. Response to the Magistrate Report

          The Magistrate Report states, at 32, that the NDIL “recognized that the Denver Probate

  Court has subject matter jurisdiction over the conservatorship and issues that concern the

  conservatorship res”. This is both irrelevant and misleading. It is irrelevant because DPC’s

  jurisdiction over the conservatorship does not preclude federal jurisdiction over the removed

  claims. It is misleading because in this same opinion, the NDIL specifically confirmed its own

  jurisdiction and held that the probate exception does not apply.63

          The Magistrate Report, at 32-33, says that the NDIL “has already abstained from deciding,

  and elected not to enjoin the Denver Probate Court from addressing, precisely the issues raised in

  the disputed motion.” This misstates what the NDIL decided, and implies that the NDIL decision

  was based on the probate exception, when it was not. The NDIL decision addressed only two of

  the eight claims in the removed state action, claims #7 and #8, and concluded that the probate




          61
               Minute order in Interpleader Case (N.D. Ill. June 19, 2019) [doc. 69] (emphasis added).
          62
             Memorandum Opinion and Order (Sept. 29, 2021), 2021 WL 4459482, at *21 (“Joanne’s counsel later
  made clear—repeatedly—that she did not seek any turnover of the Trusts’ assets”).
          63
               JPMorgan Chase Bank, N.A. v. Black, 2021 WL 4459482, at *7.



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  exception did not apply, and that the NDIL had subject matter jurisdiction. The NDIL allowed

  claim 8 (disclaimer reversal) to be brought before the DPC, and barred bringing claim 7 (turnover

  of assets to the DPC).

           The NDIL exercised its discretion under the interpleader statute to allow the DPC to

  consider the disclaimer-reversal claim.64 It did so only because this would not impair the NDIL’s

  own custody of the trust assets: “the DPC can issue a decision . . . without going so far as touching

  the interpleader assets.”65 But in the same decision. the NDIL reiterated its prior decision not to

  allow the transfer-assets claim to proceed. The NDIL had this discretion under the interpleader

  statute. Removal, in contrast, is not discretionary. The standard is solely whether the federal court

  has subject matter jurisdiction to hear the removed claim.

           For all of the foregoing reasons, the asset-turnover claim is outside the probate exception.

  The NDIL has already considered and rejected a challenge to its jurisdiction based on the probate

  exception. This decision should be treated here as “law of the case.”

  D. Claim #8 (Seeking to Reverse the Disclaimer)

           The eighth removed claim seeks to reverse the Disclaimer. The basis for this claim is an

  assertion that New York law required that the Disclaimer be filed with the New York probate court

  overseeing Renata Black’s will within 9 months of her death, but the Disclaimer was not filed.

  DPC Pleading ¶¶ 8-22 (doc. 1, attach. 1). The estate of Renata Black is a New York estate,




           64
              See 2021 WL 4459482, at *12 (“federal interpleader courts have discretion to dismiss or stay the case and
  “defer to state court proceedings for the sake of judicial administration and efficiency”) (quoting NY Life Distribs.,
  Inc. v. Adherence Grp., Inc., 72 F.3d 371, 380–81 (3d Cir. 1995)).
           65
                NDIL Order in Interpleader Case (Sept. 27, 2021) (doc. 251).



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  completely unrelated to the DPC. Manifestly, nothing ties this claim to the Colorado

  conservatorship or to the DPC’s expertise in conservatorship matters.

          1. Summary: The Reverse-Disclaimer Claim is Outside the Probate Exception

          Joanne’s challenge to the Disclaimer is pending before the NDIL in the Interpleader Case.66

  Joanne previously brought this claim in a New York guardianship proceeding, unsuccessfully.67

  Manifestly, this claim cannot require the federal court to exercise in rem jurisdiction, or else Joanne

  could not have brought it in these other courts. The NDIL has already determined that the probate

  exception does not apply to this claim. This decision should be treated here as law of the case:

  federal subject matter jurisdiction over the claim to invalidate the Disclaimer exists. The probate

  exception does not apply to the reverse-disclaimer claim for the following reasons:

                 (i) This claim does not involve assets within the custody of the DPC; instead, the
          relevant trust assets are within the NDIL’s custody.
                  (ii) Similar to the transfer-assets claim, the reverse-Disclaimer claim does not seek
          to dispose of assets in the custody of a state court. Instead, it seeks to bring additional assets
          into the conservatorship estate.
                   (iii)This claim can be brought in personam, and Plaintiff already repeatedly brought
          it in personam in other courts. Plaintiff is now precluded from asserting that this claim can
          only be brought in rem.
                  (iv)the NDIL permitted Joanne to seek reversal of the disclaimer “because "the
          DPC can issue a decision regarding those matters without going so far as touching the
          interpleader assets.”68 But for the same reasons, a federal court can address the disclaimer
          issue "without . . . touching the interpleader assets.” This takes this claim outside the
          probate exception.


          66
             The relief sought in the Interpleader Case by Joanne’s Colorado conservator, Jeanette Goodwin includes:
  “Order Bernard and Samuel (or Chase Bank and JPMS LLC) to deliver the assets of the SNT and IT to the Denver
  Probate Court’s Registry for further proceedings, pursuant to the DPC’s orders.” First Amended Counterclaims and
  Crossclaims by Anthony Dain and Jeanette Goodwin (Dec. 30, 2021), request for relief (d).
          67
             Motion by Joanne Black (March 14, 2016) in In re Application of Bernard Black for the Appointment of
  a Guardian of the Person and Property of Joanne Black, Index No. 80253/2014 (N.Y. Supreme Court, Richmond
  County) (“NY Guardianship Case”) (seeking “a determination on whether or not there was a valid disclaimer”).
          68
               NDIL Order in Interpleader Case (Sept. 27, 2021) (doc. 251).



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         A decision on the Disclaimer will affect which assets are included in the conservatorship

  estate. But this is insufficient to trigger the probate exception. Even before Marshall narrowed

  the probate exception, it was “well settled that . . . adjudicat[ing] whether certain assets belong to

  the Estate” does not trigger the probate exception because the probate court would continue to

  administer the assets in the estate. Est. of Genecin ex rel. Genecin v. Genecin, 363 F. Supp. 2d

  306, 312 (D. Conn. 2005) (citing and quoting Ashton v. Josephine Bay Paul & C. Michael Paul

  Found., 918 F.2d 1065, 1072 (2d Cir.1990).

         2. Response to the Magistrate Report

         For the reverse-disclaimer claim, the Magistrate Report, at 32-33, cites the NDIL decision,

  exercising its discretion and allowing the DPC to hear this claim. That decision recognizes that

  the DPC has jurisdiction. However, the NDIL also held that the probate exception does not

  apply.69 The NDIL decision on the probate decision should be treated as law of the case.

       V. Removal Is Necessary to Protect Out-of-State Defendants from DPC Hostility

         The removal petition was filed because Respondent has faced hostility from the DPC

  toward Respondent and his family, and seeks a fair forum. That is what removal is about –

  providing for a fair federal forum for an out-of-state defendant.

         The DPC appointed Joanne’s current attorney (Ms. DiPonio). In 2017, the DPC sua sponte

  instructed Ms. DiPonio to seek removal of Bernard Black as SNT trustee in another court.70 After

  that did not succeed, the DPC ordered Mr. Dain in 2019 to seek trustee removal in another court.71




         69
              See Part IV.C supra.
         70
              DPC Order (Nov. 3, 2017).
         71
              Transcript of DPC hearing (Oct. 3, 2019), at 11.



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  Dain did not do so, presumably because there is no basis for such a claim. The DPC then ordered

  Ms. DiPonio to bring trustee suspension claims in the DPC; this is the core of the removed action

  before this Court.72 The result of the DPC “litigation” of the removed action is predetermined.

  The DPC has not only expressed her views on how she will resolve claims that have not been

  brought, but instructed a court-appointed attorney to bring the case to her court. The DPC has also

  opposed settlement efforts.73

           The DPC has issued orders, advising other courts on how to resolve claims before them.74

  Despite the DPC’s views, the New York state court issued a restraining order against the DPC’s

  preferred parties in this litigation, including Dain’s sister Wrigley, for witness tampering and other

  misconduct.75 The DPC responded to the TRO by issuing her own order reiterating her praise for

  Wrigley, and calling the New York judge to discuss the case pending before him.76 Despite this

  phone call, the New York judge ruled against the DPC’s preferred parties.77

           With regard to Samuel Black, the DPC has previously sua sponte suspended him as SNT

  trustee,78 declared that it has jurisdiction over him and ordered him to deposit trust assets with the

  DPC,79 even though Samuel has never been a party to any proceedings before the DPC, received



           72
                DPC Order (May 10, 2021).
           73
                DPC Order (Sept. 28, 2020)
           74
                DPC order (Sept. 28, 2015), at 13 (praising Wrigley).
           75
                Order to Show Cause with Temporary Restraining Order, in NY Guardianship Case (Jan. 29, 2016).
             76
                DPC order (March 17, 2016) at 2 (reiterating praise for Wrigley because it was “pertinent to these pending
  matters [the then upcoming guardianship hearing]”).Order in NY Guardianship Case (June 7, 2016), at 4 (disclosing
  the call).
           77
                Id.
           78
                DPC Order (Jan. 4, 2018)
           79
                DPC Order (April 27, 2018).



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  no notice of the DPC proceedings, and there is no basis for personal jurisdiction over him in

  Colorado; and ordered Dain to seek his removal as SNT trustee.80 Samuel appealed the DPC’s

  2018 orders; these orders were voided as to him for lack of notice.81

           Bernard’s wife, Katherine Black, has lent money to the SNT and the Issue Trust to enable

  them to pay legal fees to defend against the ongoing efforts by Plaintiff to defund them. Those

  loans are entirely proper; the trusts are entitled to defend against defunding. Parallel loans by her

  cousin, Olga Dal, have been found valid in Illinois at trial and upheld on appeal.82 Katherine’s

  loans have yet to be assessed at a similar hearing, but are also valid loans. Yet the DPC, without

  notice or discovery, and without hearing any evidence, has declared that the trustees’ conduct in

  borrowing funds to defend the trusts “are shocking to the conscience of the court,” as was

  Katherine’s conduct in making them.83 These statements have affected both Bernard’s and

  Katherine’s professional reputation and led other courts,84 and now the Magistrate Judge, to repeat

  them, even though there were no underlying factual findings and Katherine was never a party

  before the DPC. It is surely improper for a judge to castigate a non-party, non-witness, let alone to

  do so sua sponte without hearing any evidence.




           80
                Transcript of DPC hearing (Oct. 3, 2019), at 11.
           81
                Black v. Black, 482 P.3d 460, 484 (Colo. App. 2020)
           82
               Dal v. Black, Case 2017 L 9744 (Circuit Court for Cook County, IL) (June 3, 2019), aff’d , No. 1-19-1348
  (Ill. App. 2020);
           83
                DPC Order (Jan. 4, 2018)
           84
                Litvak v. Black, 147 N.E.3d 835 (Il. App. 2019).



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          The DPC has also prejudged the reverse-disclaimer claim. It announced in 2021, having

  as yet heard no evidence, that a filing before it “exposes that the disclaimers Mr. Black used were

  void instruments under New York law.”85

          The DPC is currently ignoring 28 U.S.C. § 1446(d), which says that, after the filing of a

  notice of removal, the state court “shall proceed no further unless and until the case is remanded.”

  Instead of standing down, the DPC has sua sponte scheduled a hearing on the removed claims,

  over Bernard Black’s objection.86

          All this provides many red flags for apparent bias.

          Notice too that none of the parties to this litigation lives in Colorado, and Joanne was found

  legally competent in New York in 2016.87 In New York, Joanne objected to a conservatorship

  over her. And yet, the DPC refuses to dissolve the conservatorship and cede control over further

  proceedings to New York, even though Colorado has no jurisdiction to continue the

  conservatorship, under a uniform guardianship jurisdiction act which both states have adopted.

          Respondent and his family are entitled to a fair decision at the trial level.

                                  VI. Removal Was Procedurally Proper

          Removal of the DPC Pleading was procedurally proper. The DPC Pleading was styled as

  a “motion,” and was filed in a conservatorship case. That this was improper; that pleading needed

  to be filed as a complaint. But the name of the pleading is irrelevant; it’s the substance that matters.

  The removal statute, 28 U.S.C. § 1441, allows removal of a “civil action.” It does not use the term


          85
               DPC order (May 10, 2021).
          86
               DPC Scheduling Order (Feb. 14, 2023).
          87
              In the Matter of the Application of Bernard Black for the Appointment of a Guardian of the Person and
  Property of Joanne Black, Index No. 80253/2014 (N.Y. Supreme Court for Richmond County, June 7, 2016).



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  “complaint.” Per Black’s Law Dictionary, a civil action is “[a]n action brought to enforce, redress,

  or protect a private or civil right; a noncriminal litigation.” ACTION, Black's Law Dictionary (11th

  ed. 2019).

           The DPC Pleading constitutes a new civil action. It names new parties, who were not before

  the DPC before;88 new parties cannot be added to a case via a mere motion. It also brings new

  claims89 that have not been before the DPC; new claims also cannot be added via a mere motion.

  It seeks new remedies that were not raised before the DPC before, except for Claim #8. New

  parties, new claims, and new remedies constitute a new civil action.

           There were no claims pending before the DPC when the DPC Pleading was filed; there are

  still no claims there, except the current removed action. Thus, the removal petition included all

  claims that were before the DPC. It does not include the conservatorship itself because the

  conservatorship was not part of the new civil action, begun through the DPC Pleading.

           28 U.S.C. § 1446(b)(1) refers to removal of a “civil action or proceeding.”. If Congress

  had wanted to allow removal only of “complaints,” it could have said so. Moreover, under

  Colorado law, a court filing styled as a motion, but containing new causes of action, can constitute

  a complaint; substance matters, not form. Black v. Black, 422 P.3d 592, 606 (Colo. App. 2020).

           The district court case within the Tenth Circuit that is most closely on point, Stark-Romero

  v. National Railroad Passenger Company, 763 F.Supp.2d 1231, 1270 (D.N.M. 2011), supports

  removal. Stark-Romero frames the relevant question as “whether the proceeding that was removed


           88
              Samuel Black has never been before the DPC, and the DPC has no personal jurisdiction over him. Bernard
  Black, in his capacity as Issue Trust Trustee, is not a party to the underlying conservatorship case, and has never been
  before the DPC in that legal capacity.
           89
              All claims, except Claim #8, have not been raised before the DPC before. Claim #8 is fully adjudicated,
  and all appeals exhausted, so it cannot be reopened via a “motion.”



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  involves an independent controversy, with distinct and separate issues” – to which the court

  answered in the affirmative. The court remanded claims involving one plaintiff but allowed

  removal of claims by a second plaintiff because “the Esquibels’ claims are entirely separate and

  independent from Stark–Romero’s claims . . . and [involve] a separate civil action”). Id. at 1261-

  62. As support, Stark-Romero cites two earlier Tenth Circuit cases, Adriaenssens v. Allstate Ins.

  Co., 258 F.2d 888 (10th Cir. 1958) and London & Lancashire Indemnity Co. of America v

  Courtney, 106 F.2d. 277 (10th Cir. 1939).90

           Further support comes from Wright and Miller, Federal Practice and Procedure § 3721.1.

  This treatise recites the general rule that “proceedings that are ancillary to an action pending in

  state court cannot be removed separately from the main claim.” But it goes on to explain that

  “supplemental proceedings that involve an independent controversy with a new and different party

  . . . are removable.” As support, Wright and Miller cite Stark-Romero, as well as cases from the

  Seventh and Eleventh Circuits.91

           The Magistrate Report, at 22-23, argues that only an entire “case” can be removed. Stark-

  Romero considers and expressly rejects this position, explaining that if Congress had wanted to

  allow removal only of entire cases, it could have used that term in the removal statute, but instead

  used “civil action.” 763 F.Supp.2d at 1273.




           90
                The Magistrate Report, at 23, miscites Stark-Romero as not allowing removal of one civil action without
  the other.
           91
              GE Betz, Inc. v. Zee Co., Inc., 718 F.3d 615 (7th Cir. 2013) (allowing removal of a new claim against a
  new party); Jackson-Platts v. General Elec. Capital Corp., 727 F.3d 1127, 1134 (11th Cir. 2013) (allowing removal
  of a new claim against a new party, based on a new theory of liability). The Magistrate Report, at 22-23, cites Wright
  and Miller for the general rule, but does not discuss the explanation, which immediately follows, which supports
  removal of “an independent controversy with a new and different party.”



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         On policy grounds, calling a pleading that starts a new civil action a “motion”, rather than

  a “complaint”, must not be used to evade removal to federal court. Nor should Plaintiff be able to

  evade removal of new claims, brought against new parties, by the artifice of bringing them as a

  “motion” in an existing conservatorship proceeding. If we allow plaintiffs to bring unlimited new

  actions, with new defendants, new causes of action, and new remedies, via mere “motions” filed

  in a prior case, this will defeat the removal regime.

                                 VII. Attorney Fees and Sanctions

         A court may award fees in removal proceedings “only where the removing party lacked an

  objectively reasonable basis for seeking removal. Conversely, when an objectively reasonable

  basis exists, fees should be denied.” Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005).

         In the Tenth Circuit, the lack of “an objectively reasonable basis” is interpreted very

  narrowly. Fees are not awarded when the removing party advances a novel legal theory but loses

  that argument. “While [defendant’s] interpretation of procedural misjoinder law is incorrect, it had

  an objectively reasonable basis for seeking removal.” Ullman v. Safeway Ins. Co., 995 F. Supp. 2d

  1196, 1251 (D.N.M. 2013) (internal quotations removed). See also Vetro, Inc. v. Active Plumbing

  & Heating, Inc., 403 F. Supp. 2d 1033, 1040 (D. Colo. 2005) (“Although I have determined that

  Plaintiff's contract based claims do not implicate a federal question, I also conclude that

  Defendant's contention that federal question jurisdiction was present … was not clearly without

  merit warranting the award of attorney fees to Plaintiff.”)

         The award of fees is improper when the Tenth Circuit does not have an opinion squarely

  addressing the issues raised in the removal petition. Mem'l Health Sys. v. Aetna Health, Inc., 730

  F. Supp. 2d 1289, 1298 (D. Colo. 2010). See also Johnson v. Labs, Inc., No. 16-CV-00718-MEH,



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  2016 WL 9735765, at *9 (D. Colo. Sept. 8, 2016) (because the Tenth Circuit’s substantive doctrine

  relevant to the removal is not fully developed, the award of fees is impermissible); Fed. Nat. Mortg.

  Ass'n v. Sechrist, 2012 WL 3778288, at *4 (D. Colo.). (award of fees is appropriate only when the

  removal is clearly impermissible under “substantial and uniform … case law … in this Circuit”).

           The current case involves no facts that justify the award of fees. This Objection includes

  a detailed explanation for the existence of federal subject matter jurisdiction for all claims in the

  removed action. Diversity plainly exists and is not contested. There are many reasons why the

  probate exception does not apply, discussed above, based on precedent from the Supreme Court,

  the Tenth Circuit, and other circuits. This Objection also discusses why any procedural issues with

  removal have been waived, based on the removal statue and precedent from the Tenth Circuit and

  other circuits. It cannot be proper to award fees based on objections that Plaintiff waived.

           Even if procedural objections to removal had not been waived, the DPC Pleading was

  removable, as a new civil action that brought new causes of action against new parties not

  previously before the DPC. Removability is supported by precedent from both the Tenth Circuit

  and lower courts within the Tenth Circuit. As explained in Stark-Romero v. National Railroad

  Passenger Company, 763 F.Supp.2d 1231, 1270 (D.N.M. 2011), the relevant question is “whether

  the proceeding involves an independent controversy, with distinct and separate issues” – to which

  the court answered in the affirmative.92 Stark-Romero is the only Tenth Circuit lower court case




           92
                See also Stark-Romero at 1261-62 (remanding claims involving one plaintiff but allowing removal of
  claims by second plaintiff because “the Esquibels’ claims are entirely separate and independent from Stark–Romero’s
  claims . . . and [involve] a separate civil action”). As support for allowing removal of the Esquibel claim, the district
  court cited Adriaenssens v. Allstate Ins. Co., 258 F.2d 888 (10th Cir. 1958) and London & Lancashire Indemnity Co.
  of America v Courtney, 106 F.2d. 277 (10th Cir. 1939).



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  with the Magistrate Reports cites for non-removability. The Magistrate Report mischaracterizes

  its holding; Stark-Romero supports removability.

         Procedural issues have been waived, so this Court need not resolve them. But it is apparent

  that procedural issues have not been conclusively resolved against removal by clear Tenth Circuit

  precedent, and cannot be the basis for awarding fees.

         Finally, plaintiff did not seek the award of attorneys’ fees.

         If an award of attorney fees is unjustified, then sanctions, including bar referral, are even

  more unjustified. Moreover, it is improper in the same case to both award fees and impose

  sanctions. Midlock v. Apple Vacations West, Inc., 408 F.3d. 453, 455 (7th Cir. 2005).

                                          VIII. Conclusion

         The U.S. Supreme Court has expressly stated that the district courts lack authority to

  “remand[ ] cases on grounds that seem justifiable to them but which are not recognized by the

  controlling statute.” Thermtron Products, Inc. v. Hermansdorfer, 423 U.S. 336, 346 (1975)

  (quoted with this emphasis in Air-Shields, Inc. v. Fullam, 891 F.2d 63, 66 (3d Cir. 1989). Federal

  jurisdiction, if it exists, must be exercised. Objections to any procedural defects in removal have

  been waived. Diversity jurisdiction exists. The probate exception does not apply to any of the

  claims in the DPC Pleading. The removed claims should stay removed.

                Appendix: The Loans to the Trusts and Other Illinois Litigation

         The Magistrate Report devotes great effort to criticizing the conduct of Bernard and Samuel

  Black as SNT and Issue Trust trustees. In so doing, it presents a severely incomplete and one-

  sided picture. Since 2015, a relative of the Black family, Anthony Dain, (a minority trustee of the

  SNT) and his sister Cherie Wrigley have been engaged in an ongoing effort to defund both trusts



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  and transfer trust assets to their own control and use.                  For the SNT, Dain and Wrigley

  (unsuccessfully) asked several courts to extract assets from the trust and transfer them to the

  mentally ill Joanne, who has no understanding of money, cannot manage it, and whom Dain and

  Wrigley control. To propel his asset-funneling effort, Dain used his position as a trustee, and

  assigned his massive legal bills to the SNT, even as he was spending money to defund the SNT

  itself in breach of his fiduciary duties. After years of litigation, Dain and Wrigley will likely spend

  much if not all of the SNT funds to repay the massive legal bills they have run up, leaving little or

  nothing for Joanne.

          Dain has simultaneously attacked the second family trust, the Issue Trust, asking several

  courts (unsuccessfully) to remove all assets from that trust and, again, transfer them to the mentally

  ill Joanne, whom he controls.

          The basis for the effort to defund both trusts was the claim that Bernard, as his sister’s

  conservator, did not sufficiently disclose that a disclaimer that he carried out on her behalf would

  lead to two-thirds of the disclaimed assets going to Joanne’s SNT and one-third to the Issue Trust.

  Dain and allies claimed that they thought that all of the disclaimed assets would go to the SNT,

  despite clear written language of the proposed order for the disclaimer to the contrary, and

  persuaded the DPC to award damages based on the amount that went to the Issue Trust.

          The obvious remedy for this harm to the SNT would be to transfer the Issue Trust funds to

  the SNT, thus remedying the asserted harm. Bernard and Samuel Black have repeatedly proposed

  this, but Dain and Wrigley have refused to consider settling on this or any other basis.93 They are


          93
              See the discussion of the failed settlement overtures in the motion for summary judgment filed by trust
  beneficiaries in a fiduciary duty suit against Dain and Wrigley in the EDNY, Black v. Dain, Case No. 1:16-cv-01238
  (Apr. 29, 2022) (doc. 306).



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  not interested; this would provide more money for the SNT, but would not achieve their goal,

  which is to defund the trusts and control their assets directly, for personal gain.

          Trust beneficiaries have sued Dain and Wrigley for breach of fiduciary duties in the EDNY;

  this case is ongoing. The beneficiaries recently filed a Motion for Partial Summary Judgment; it

  provides a sense for the scale, scope, and relentlessness of Dain’s efforts to defund the trust where

  he is a trustee, and failing that, to spend SNT assets to pay his own litigation expenses.94

          The beneficiaries’ EDNY Motion also details the majority trustees’ failed settlement

  efforts. If the Issue Trust assets were truly stolen, as the DPC found, one might think the offer to

  return those assets to the SNT would be an attractive opportunity. It has not been. Dain, Wrigley,

  and collaborators have instead launched a multiyear, multistate, endless litigation war against the

  Black family, which has consumed far more in legal fees than the roughly $1 million the Issue

  Trust received as a result of the disclaimer. They refuse to settle; they refuse to mediate; but they

  are happy to bring new rounds of litigation, preferably before the DPC; hence the DPC Pleading.

  Dain and his associates can do so because litigation is free fun for them: they expect to charge all

  of their legal fees to the SNT.

          Bernard and Samuel Black, as trustees of the SNT and the Issue Trust, have defended the

  trusts as best they could. To pay the trusts’ legal expenses, Bernard and Samuel had to borrow

  money from two lenders – Bernard Black’s wife, Katherine Black, and her cousin, Olga Dal. These

  loans are well documented; the money moved from the lenders’ accounts to the trusts’ attorneys.

  The asset trail is entirely transparent. Defending the trusts against an attack is not only proper –



          94
              Plaintiffs’ Motion for Partial Summary Judgment in Black v. Dain, Case No. 1:16-cv-01238 (Apr. 29,
  2022) (doc. 306)



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  the trustees have a fiduciary duty to do so. All the more so when a central attacker is a minority

  SNT trustee, Anthony Dain, whose attacks are in flagrant breach of his own fiduciary duties.

          The Magistrate Report repeatedly attacks these loans – both the borrowers (Bernard and

  Samuel Black, as trustees) and the lenders. The attacks are unjustified. First, while Dain and his

  associates have levied allegations of fraud and collusion, there has never been any proof thereof,

  or any finding of fact. The lenders and the trustees have produced all documentation for the loans,

  for the payments made by the lenders, and for the bills from the law firms that received the loan

  funds as payment for legal work. The lawyers unquestionably provided work. The defensive

  litigation has succeeded – the trusts have not been defunded. These lawyers are not related to

  anyone in the Black family; they charged normal market rates. The rhetoric about these loans, from

  the DPC and now in the Magistrate Report, has far outrun the facts. These loans are entirely

  legitimate, made for legitimate purposes, and have so far enabled the trusts to fend off the efforts

  to defund them.

          For one of the two lenders, Olga Dal, her loans were challenged by Dain and Joanne’s

  conservator; at trial, the loans were found to be proper and nonfraudulent, and upheld on appeal.95

  Katherine’s loans have yet to be assessed at a similar hearing, but they are virtually identical to

  Olga’s, valid loans; the only difference is the specific legal bills that were paid. The loans are

  supported by unassailable documentation from financial institutions and law firms. Real loans,

  real dollars, and a valid purpose.




         95
            Dal v. Black, Case 2017 L 9744 (Circuit Court for Cook County, IL) (June 3, 2019), aff’d, Dal v. Black,
  2020 WL 7046887 (Il. App.).



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             The DPC issued dicta about these loans, in an unrelated proceeding, without notice, without

  any discovery, without a fact-finding hearing, and without any evidence, without giving any

  chance for the parties to appear or respond. As dicta, this language is not appealable. Dain has

  falsely presented this improperly-obtained DPC dicta to several courts as “factual findings”; most

  courts could see through it, but one Illinois court wrote an opinion that sounds as if these were

  actual findings, which they were not. The Magistrate Report repeats these accusations in his Report

  as if they were factual findings, without inquiring about their origins. Yet no fact finder has ever

  found either the lenders or the trustees to have committed any wrongdoing with the respect to these

  loans.

             The only factual finding to date concerning these loans is for the Olga Dal loans, which

  were found valid and enforceable. There has been no factual finding of any wrongdoing, by either

  the trustees or the lenders. The Magistrate Report cites an Illinois appellate decision, Litvak v.

  Black, 147 N.E. 3d 835 (Il. App. 2019). But this was an appeal from the grant of a motion to

  dismiss in Katherine’s favor. On appeal, the Illinois appellate court applied the motion-to-dismiss

  standard; it assumed as true the same allegations of fraud and collusion made by Dain and

  conservator Goodwin that were found to be entirely unsupported in the Olga Dal hearing. These

  are not “findings of fact” by any fact-finder.

             In connection with the Dain fiduciary duty case, the plaintiffs had the loans to the trusts

  from both Dal and Katherine reviewed by a top, Colorado-based forensic accounting firm, Harper

  and Hofer. Name partner Melinda Harper then wrote an expert report documenting the loans as

  valid.96


             96
                  Harper expert report in Black v. Dain (May 21, 2019).



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           Thus, on one side, there are allegations of fraud and collusion made by Dain and Goodwin,

  devoid of any specific facts. On the other side, there is the forensic accounting review by Harper

  and Hofer, which documents each loan and which bill it was used to pay, and the trial outcome for

  Dal’s loans from an Illinois state court, which found these loans to be valid. The rhetoric in the

  Magistrate Report about fraud (“fraud” or “fraudulent” appears 10 times) and collusion

  (“collusion” or “collusive” appears 8 times) does not match reality. The trustees expect that a

  future hearing on Katherine’s loans will show them to also be validly incurred.97

           The SNT trustees also brought a declaratory judgment action in Illinois, seeking a

  declaration that the Disclaimer was valid under Illinois law.98 This should not have been

  necessary, but for Dain’s ongoing efforts to defund the trusts. This particular effort failed, because

  of an unusual provision in the Illinois Code of Civil Procedure § 2-619(a)(3), under which a motion

  to dismiss can be filed if a similar action is pending elsewhere. But the filing was made in good

  faith, with advice of experienced trusts counsel, Strauss, Malk and Feder in Northbrook, Illinois.

  It could have succeeded – and Respondent believes it should have -- because when it was filed,

  there was no similar other claim – only the threat of one. The fact that this effort did not succeed

  reflects: (i) the discretionary decision by an Illinois judge to interpret §2-619(a)(3) broadly; and




  97
       In the Dal loan case, Dain and Goodwin’s counsel “Essentially acknowledge[ed] that he had presented no
  affirmative evidence of fraud and collusion.” Dal v. Black, 2020 WL 191348 at *6. With good reason, since “On
  cross-examination, Mr. Dain acknowledged that he had never spoken to Ms. Dal. Nor had he ever spoken to Bernard
  or Samuel about the loans Ms. Dal made to the trusts. He was aware of no conversations between Ms. Dal and
  defendants prior to those loans being made. When asked by the court what evidence he had that the agreed judgment
  in this case was the product of fraud and collusion, Mr. Dain stated [only] that Ms. Dal was Ms. Litvak’s cousin.” Id.
  at *4.
          98
             Bernard Black and Samuel Black, as SNT Trustees, v Joanne Black and Anthony Dain, Case 2021 CH
  06049 (Circuit Court for Cook County, Ill., Chancery Div.) (Dec. 6, 2021).



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  (ii) opposition by trustee Dain, to a declaratory judgment that would have protected the SNT

  against his own efforts to defund it.99 Dain wears the black hat here, not the majority trustees.

           The DPC Pleading seeks damages against Samuel Black, for bringing the declaratory

  judgment action in an effort to protect the SNT against Dain’s efforts to defund it.100 This is an

  astonishing claim, that would be seen as frivolous if brought anywhere other than the DPC. Not

  only was Samuel’s effort to defend the trust proper – it was his fiduciary duty to act to defend the

  trust.

           There have been two other instances in which the family feud has reached an evidentiary

  hearing. Both resulted in a win for the Black family, and a loss for Dain and Wrigley. First, in a

  guardianship hearing in New York, Wrigley was found “unfit” to be Joanne’s guardian, despite

  Joanne’s consent based on her conduct in attacking Bernard and Katherine at their place of work.101

           Second, Bernard and Samuel persuaded a FINRA arbitration panel to freeze the trusts

  against litigation spending, thus blocking Dain from continuing to deplete the SNT to support his

  litigation war against the Black family and the trusts.102 The SNT has still suffered severe harm

  from Dain’s pre-freeze spending; the Joanne Black 2013 Trust, which once held $300,000 in

  assets, has been completely spent on Dain’s litigation and conservator fees. The Harper expert

  report computes this spending as $761,000 through early 2019 – with additional spending since




           99
                 See Dain’s 2-619 Motion to Dismiss (April 7, 2022).
           100
                 DPC Pleading ¶¶ 38-41.
           101
               In the Matter of the Application of Bernard Black for the Appointment of a Guardian of the Person and
  Property of Joanne Black, Index No. 80253/2014 (N.Y. Supreme Court for Richmond County) (June 7, 2016).
           102
                 FINRA Arbitration Award (March 23, 2018), at 6 item 1.



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  and harm to Joanne’s trusts about double this, or $1.5 million due to lost appreciation on the spent

  funds.103

          To summarize, the score in actual factual hearings is Black family (3); Dain and Wrigley

  (1). The dicta in the Magistrate Report, concerning fraud and collusion for the loans and unjustified

  litigation, lacks support in either facts or law.



  Respectfully submitted,

  Date: April 7, 2023                                 Bernard S. Black, pro se
                                                      As Issue Trust Trustee

                                                      /s/ Bernard S. Black




          103
                Harper expert report Schedule 1.



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  CERTIFICATE OF SERVICE

      I hereby certify that I served a true and correct copy of the foregoing document on April 7, to
  the following individual(s) by the method(s) indicated below. I have confirmed that the email
  addresses below are correct.

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                                                   Bernard S. Black
                                                   Pro se, as Issue Trust Trustee




                                                  69
